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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA

                                          Honorable Cathy L. Waldor, U.S.M.J.
V.                                        Mag./Case No. 18-7094 (CLW)


STEVEN BRADLEY MELL
a/k/a BRADLEY MELL

                  Defendant.




                        MEMORANDUM SUPPORTING THE
                     RELEASE OF DEFENDANT PENDING TRIAL



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                                      LEGAL ARGUMENT

                DEFENDANT HAS OVERCOME THE REBUTTABLE
                PRESUMPTION OF DETENTION AND SHOULD BE
                RELEASED PENDING TRIAL.

         A defendant's right to bail is addressed in the Bail Reform Act of 1984 (18 U.S. C. §§

3141, et seq.). Generally, a defendant must be released on bail on the least restrictive condition

or combination of conditions that will reasonably assure the defendant's appearance and the

safety of the community. 18 U.S.C. § 3142(c)(B). Pursuant to 18 USC.§ 3142(e), however, if

after a detention hearing a court determines that "no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and

the community" the court must Order the detention of the person before trial.

         If the government or court believes detention is appropriate because there is a risk of

flight, this must be proved by a preponderance of the evidence. United States v. lliniler, 797

F.2d 156, 161 (3d Cir. 1986).

         If the government moves for detention on the basis of danger to the community, it must

prove this by clear and convincing evidence. 18 USC. § 3142(f). The government may move

for detention on the basis of danger to the community only for an offense that is listed in 18

U.S.C. § 3142(f)(l )(A) to (E). United States v. Ahdullahu, 488 F. Supp. 2d 433, 437-38 (D.N.J.

2007).

         In this case, Mr. Mell is charged with a rebuttablc presumption oJTcnse under 18 US. C.

§§ 2422, 2423 (felonies involving an alleged minor victim). Pursuant to 18 US.C. § 3142(e), if

the Court first finds there is probable cause to believe the defendant committed the offenses
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charged, there is a rebuttable presumption "that no condition or combination of conditions will

reasonably assure the appearance of the person ... and the safety of the community."

       If a rebuttable presumption applies, the defendant carries the burden of production to

come forward with evidence to rebut the presumption. United States v. Peny, 788 F.2d 100, 114

(3d Cir. 1986). However, the defendant's obligation to come forward with evidence does not

shift the burden of persuasion to the defendant.      Id.   The government must still prove by

preponderance of the evidence that Mr. Mell is a flight risk, !limier. 797 F.2d 161, or by clear

and convincing evidence that Mr. Mell is a danger to himself or the community. 18 US. C. §

3142(f).

       In producing evidence to rebut the presumption, Mr. Mell looks to the four factors which

the Court must consider in determining whether pretrial detention is warranted:

              (]) the nature and seriousness of the offense charged;

              (2) the weight of the evidence against the person;

              (3) the history and characteristics of the person, including-- (A) the
                  person's character, physical and mental condition, family ties,
                  employment, financial resources, length of residence in the
                  community, community ties, past conduct, history relating to
                  drug or alcohol abuse, criminal history, and record concerning
                  appearance at court proceedings; and (B) whether, at the time
                  of the current offense or arrest, the person was on probation, on
                  parole, or on other release pending trial, sentencing, appeal, or
                  completion of sentence for an offense under Federal, State, or
                  local law; and

              (4) the nature and seriousness of the danger to any person or the
                  community that would be posed by the person's release.

              [18 USC.§ 3142(g)]




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 A.     Nature and Circumstances of the Offense Charged.

        Mr. Mell is charged in Counts One through Three of the complaint with "Online

Enticement of a Minor" in violation of 18 U.S. C. § 2422(b ), and in Court Four with "Travel with

the Intent to Engage in Illicit Sexual Conduct" in violation ofin violation of 18 U.S.C. § 2423.

        Under § 2422(b). a defendant may be prosecuted for "using the mail or any facility of

interstate or foreign commerce" to "knowingly persuade[ J, induce[ ], entice! ], or coerce[ ] an

individual who has not attained the age of 18 years, to engage in prostitution or any sexual

activity for which any person can be charged with a criminal offense, or attempt[ing] to do so."

18 U.S.C. § 2422(b). A conviction under§ 2422(b) carries a mandatory minimum sentence of 10

years and a maximum penalty of life. Id.

        Subsection (b), originally added to § 2422 in l 996, was amended two years later as part

of the Child Protection and Sexual Predator Punishment Act of 1998. The bill that was described

as "a comprehensive response lo the horrifying menace of sex crimes against children,

particularly assaults facilitated by computers." H.R. Rep. No. I 05-557, at IO ( 1998). The bill's

legislative history reflects Congress's concern with cyber-predators interacting with minors

onlinc and its goal of addressing computcr--rclatcd crimes against children. Id.

       Congress emphasized       the dangers     posed   by cyber-predators developing onlinc

relationships with minors. noting that "'cyber-predators' oHcn 'cruise' the lntcruet in search of

lonely. rebellious or trusting young people. The anonymous nature of the on-line relationship

allows users to misrepresent their age, gender. or interests. Perfect strangers can reach into the

home and befriend a child." Id. at 11-12 (emphasis added). Congress highlighted the potential

consequences of allowing cybcr-relationships between predators and minors:


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               Recent, highly publicized news accounts in which pedophiles have
               used the Internet to seduce or persuade children to meet them
               to engage in sexual activities have sparked vigorous debate about
               the wonders and perils of the information superhighway. Youths
               who have agreed to such meetings have been kidnapped,
               photographed for child pornography, raped, beaten, robbed, and
               worse.

               []d. at 12 (emphasis added)]

       Members of the House emphasized that the a1111 of the Protection Act was to punish

''pedophiles who stalk children on the Internet." Id at 12. During a debate, Representative Bill

McCollum, slated:

               The key portion of this bill, and there are a lot of other things in it,
               is to make sure when there is contact made over the Internet for
               the first time by a predator like this with a child, with the intent to
               engage in sexual activity, whatever that contact is, as long as the
               intent is there to engage in that activity, he can be prosecuted for a
               cnrne.

               [144 Cong. Rec. 1-14497 (daily ed. June 11, 1998) (statement of
               Rep. McCollum) (emphasis added)]

Echoing Representative McCollum's sentiments, Representative Sheila Jackson-Lee slated that

the Protection Act ''would be a start to effectively prevent a predator from initiating a harmful

relationship with a child from illegal sexual activity and to subjecting children to damaging

pornographic material that our children can currently access." Id. at 4493 (statement of Rep.

Jackson-Lee) (emphasis added).

       As the legislative history demonstrates, Subsection (b) is meant to combat use of the

internet to anonymously lure children into sexual encounters.         This is not the circumstance

alleged here. According to the complaint, Mr. Mell already had a pre-existing relationship with

the minor when he allegedly began communicating with her through telephone, text message,


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and SnapChat in May 2017. In fact, it was the minor's mother who first introduced Mr. Mell to

obtain flight lessons for the minor.

         At worst, therefore, Mr. Mell and the minor allegedly communicated about a relationship

that was already in existence. There are no allegations to suggest Mr. Mell was "cruising" the

internet in search of underage victims- which is what the statute was enacted to prevent. H.R.

Rep. No. I 05-557, at 11-12 (1998).

         Moreover, the preeminent characteristic of the conduct prohibited under § 2422(b) is

transforming or overcoming the minor's will, whether through "inducement," "persuasion,"

"enticement," or "coercion." United States v. Hite, 769 F.3d 1154, 1161 (D.C. Cir. 2014); see

FDIC v. Meyer, 510 U.S. 471, 476 (1994) (Congress is presumed to use words in the common,

ordinary meaning absent contrary indication). Here, while the communications are alleged to be

sexually charged, there is no allegation that Mr. Mell exerted effort to transform or overcome the

minor's will.    Simply discussing sexual activity with a minor does not equal an effort to

transform or overcome the minor's will.

B.       Weight of Evidence Against Defendant.

        The government alleges lo have a series of electronic cornmunications between Mr. Mell

and the minor. None of these communications, however, demonstrate any cJfort by Mr. Mell to

transform or overcome the minor's will. Moreover, we believe the allegations set forth in the

complaint demonstrate a misapplication of 18 U.S.C'. § 2422(b). As explained above, Congress

enacted § 2422(b) to curb anonymous trolling of the internet for underage victims. Here, Mr.

Mell already had an established relationship with the minor which began when the minor's

mother introduced her to Mr. Mell.
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 C.     History and Characteristics of Defendant.

        Mr. Mell was born on December 15, I 965 at Morristown Memorial Hospital in New

Jersey. He has two siblings, Courtney and William, who are 54 and 55 respectively. His mother,

Diana age 81, thankfully is still alive in South Carolina; and his father, William Harvey, passed

away in December of 2008.

        Mr. Mell was raised in a loving and compassionate family. He demonstrated to them

early on that he has the drive and focus to succeed, and that he is determined to dedicate all his

time and energy to his family, his charity, work, his employees, and his hobbies. Indeed, it is his

care and compassion for others that has impacted the lives of so many people, as stated by his

mother, Diana Mell.

               Since he was a young boy, he has always been a hard worker with
               integrity and determination to not only succeed at a job, but to do it
               the right way. He has carried this through into adulthood where
               along the way he has made many friends and has earned the
               respect of individuals and industry professionals!

               [Exhibit "A" (Letter from Diana Mell, dated May 22, 2018)]

       Mr. Mell's academic career began in New Jersey at Far Hills day school from K-9 111

grade, Tilton Prep School in New Hampshire for High School, and Boston University for college

where he graduated in 1988 with a major in psychology.

       Early on, Mr. Mell struggled in school barely making C's and D's.                Fortunately,

Headmasters of Far Hills Day School, Russ Ball and Chuck Scranton, recognized Mr. Mell was

suffering from dyslexia. He was diagnosed with an extreme case of dyslexia, which he worked

tirelessly to overcome. It paid off. In seventh-grade, Mr. Mell went from C's and D's to an

improvement so drastic that he received the Headmaster's Award.


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        After attending Far Hills Day School, he enjoyed the opportunity to attend Tilton Prep

School in New Hampshire. He excelled at Tilton, participating in three sports including the

varsity hockey team. Along with his performance as an athlete and scholar, he also found time

to participate in theater and in his senior year he was honored with the Theater A ward for his

work on the productions of the school's plays.

        As a teen, Mr. Mell became passionate about flying. His desire to always put his focus

and energy into everything he did was never more apparent than his love for flying. He received

his pilot's license at the age of 16, and in 2008, he received his fixed wing and helicopter rating.

His love of flying, along with the peace, serenity, and joy he got from being in the air became the

source of his greatest memories.

       In 1984, Mr. Mell moved to Boston where he attended college at Boston University. Mr.

Mell was always actively looking to serve, so in 1987 he became an auxiliary police officer in

Boston. In 1988, Mr. Mell graduated college with a M.A. in Psychology. During the next few

years, Mr. Mell worked as a trader for the State Street Bank in Boston and began to develop a

talent for finance. It was also during this time that he found his greatest love- Kimberly Ruggles,

whom he married in 1992.

       Mr. Mell and his wife moved back to New .Jersey, where Mr. Mell began his new career

with his father at W.H. Mell Associates. He started out as a municipal broker dealer making less

than $20,000 per year. He hoped that he would be able to grow W.H. Mell Associates into the

business through his tireless work and aptitude. But Mr. Mell being who he is did notjust grow

into the business; he helped transform the company from the ground up. In 1996, Mr. Mell took

over as company President, a position he maintains through today. As President of W.J-1. Mell,


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Mr. Mell is responsible for the continued employment and support of over 15 associates and their

families. His employees have always been like family to Mr. Mell, and he has continued to grow

the business of the firm to staggering heights.

           Gratefully, it was during this time that Mr. Mell also built his lifo as a proud family man.

Mr. Mell's first daughter, Emily, was born in 1996. She graduated from Bucknell University

with a degree in education the weekend after his arrest.          Mr. Mell was forced to miss the

graduation due to his detention which will be a regret until the day he dies. In 1998, Mr. Mell's

second daughter, Eliza, was born. She is now attending Colby College as a pre-med veterinary

student.     And, in 2003, Mr. Mell's son, William, was born.         He is a high school student at

Westminster School in Connecticut.

       Mr. Mell loves and is proud of all his children. Even while running an organization of

multiple companies, Mr. Mell always had time fr)r his children. He has been integral in the

education of his children, constantly being present and active lllr every event, play, graduation,

conference and game. Mr. Mell became an active member of school boards and hockey teams.

He enjoyed three years with Eliza taking her around the country playing travel hockey with the

Colonials. He was a coach of the hockey team for over 10 years at the Essex Hunt Club. And

for 15 years, Mr. Mell served as a board member at Westminster School, the last two years of

which he also served as Chair of the Investment Committee. Incredibly, Mr. Mell also devoted

time and service on the Far Hills Day School board for ! 0 years as a way lo give back to the

school that helped him overcome his extreme dyslexia.           He served frir over 10 years as the

Chairman frir Building and Grounds. In 2017, Mr. Mell was celebrated with a special dedication




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for his work during his 10-year volunteer service to the school. Michael Simon Scott, best man

and friend for almost 50 years, recalls the event.

                In May of 20 I 7 I attended an event that Far Hills Country Day
                School sponsored solely to honor Brad, it was not I should
                emphasize, to simply thank him for some outsized financial gift, it
                was however to present him with what they called the "The Unsung
                Hero Award." This newly created award inspired by Brad's actions
                was Far Hills Country Day School's way of not allowing all that
                Brad had done for the school to go unrecognized.

                [Exhibit "B" (Letter from Michael Simon Scott dated May 28,
                2018)]

        Life seemed to be going great for Mr. Mell. I-le had a wonderful family, a successful

business, and an active community life. ll seemed that nothing could ever go wrong.        Until

October 1,201 l: Mr. Mell was scheduled to attend a golf outing with friend Will Ellsworth, and

two others in New York.        Will, who he considered his best friend, planned to travel via

helicopter to the Pine Valley Golf Club and return the same evening. But it was a last-minute

work circumstance that caused Mr. Mell to back out of the trip and ask his friend Tighe Sullivan

to take his place.

        Tragically, Will Ellsworth and Tighe Sullivan while traveling in one of Mr. Mell 's

helicopters crashed the very same day just outside of Mount Pocono, both his friends died in the

crash. The survivor's guilt sent Mr. Mell into a spiral of depression. He was burdened with the

thought oflheir families and guilt for the suffering his own family avoided.

        Mr. Mell sought the help of a therapist. Coping with the loss of friends- one of whom

took his place on that helicopter- has been an arduous process. But, it was in therapy that Mr.

Mell was able to see how much he was doing for so many people, and how the burden of his

responsibility to so many people was taking its toll on him emotionally. He had supported his

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father and mother through his father's alcoholism and continued to pay all the bills for his

parents as well as some of his siblings. His responsibility to his family was enormous, and Mr.

Mell never balked at the opportunity to give to so many.

        While Mr. Mell helped to build a successful business, organized numerous charitable

programs, and achieved numerous awards as a student, coach, board member and businessman,

he prefers not to live in the spotlight but rather to let his actions as a husband, father, business

owner, and volunteer be the story of his life. As a humble man, Mr. Mell doesn't announce the

accolades he has received in his lifetime. Instead, his family and friends proudly proclaim the

impact Mr. Mell's actions and service has had on all of them.

        Mr. Mell is not only generous with his family and his employees, but he knows that

providing and caring for others who are not as fortunate as himself is vital to the community.

William, his brother, writes about the selfless philanthropic nature of his brother.

               [D]espiie his success, he spends more time giving than taking
               while taking drastic steps to keeps his actions as low key and
               private as possible as he is not looking for attention. One great
               example of this is that Brad does Air Lifeline which is now known
               as Angel Life flights for people that need better medical care in a
               different part of the county so he either flies them himself to
               wherever or, at this own expense, has a pilot use his plane lo get
               the patient to wherever they need to go.

               [Exhibit "C" (Leiter from William Mell, dated May 23,2018)]

       Lifetime Contacts and Charitable Foundation.

       Mr. Mell has a lifetime of contacts in the New Jersey area, many of whom are well-

respected professionals. I-le has always been well known in the community as an upstanding

professional holding several licenses in finance, including his series 63, 7, 52, 24 and 53. He is



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longstanding board member on the Essex Hunt Club, Tilton Prep School, Somerset Hills Country

Club and was a member Far Hills Day School Board from 2004-2014.

        Mr. Mell has stmted his own charitable foundation, Air Lifeline (merged with Angel

Flights in 2009), that has donated to families of children with medical needs, the ability to fly

anywhere in (he country in order to received medical treatment.

        Mr. Mell is a donor to the Mooreland Foundation, Morristown Memorial Hospital, NJ

Visiting Nurse Association, Far Hills Day School, Westminster School, Red Cross, and Brady

Life Camp (a Newark inner-city kids camp). He has given to countless other chm·ities choosing

to remain anonymous in his generosity.

        Mr. Mell's incredible generosity and love for his friends shines through in a letter from

Perry Hall, a friend of Mr. Mell's since childhood:

                My father died in July 2012 and we planned the funeral shortly
                thereafter. It was in the middle of summer and many of my
                friends were on vacation and busy with their own young families.
                Entirely on his own, Mr. Mell arranged to fly about 8 of my
                closest friends to attend the service and return them back to their
                own families the same day so as not to disrupt family vacations.
                While Mr. Mell knows these folks through mutual friends, these
                were my closest college friends •·· · not his. He knew how much the
                effort would mean to me at a very difficult time. He didn't ask
                anyone to help pay and wasn't doing it for any kind of personal
                gain, but rather because he knew how great it would be for me to
                have such a strong support network.

                [Exhibit "D" (Letter from Perry Hall, dated May 24, 2018)]

Along with the support of his friends, Mr. Mell is anchored by the love and support of his family

whose addresses are listed as follows:

Peter Courtney Mell (Brother) (54)
PO Box 2012
Palm Beach, FL 33480

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Diana D. Mell (Mother) (8 ! )
72 Fletcher Hall
Kiawah, SC 29455

William Harvey Mell III (55)
13 School St
Hopkinton, MA 01748

        Mr. Mell has led of life free from criminal prosecution and is considered by his friends

and family as an asset to his community. Mr. Mell has consistently demonstrated throughout his

life his accountability and integrity to his family, his business, his employees, his clients, and the

community. His invitation to sit on multiple school boards, local clubs and organizations, along

with his 25-year stellar track record with his clients further shows that he is a man who is trusted

by many respected members of our community.

        Mr. Mell's Family and Employees Depend on His Financial Support.

        As the president of W.1-1. Mell, Mr. Mell is responsible for the continued employment of

over 15 associates and their families. His employees have always been like family to Mr. Mell,

and he has continued to grow the business of the firm to staggering heights.          It is only with

access to his business that he can keep the business running, ensuring that his employees and

their families are provided for during the ongoing litigation.

       Moreover, Mr. Mell's own family relies on the support that his income provides, and

interruption would be an undue burden on his family. In a letter to Pretrial services, through

Kimberly Mell's attorney, Ceconi and Chcifctz, concern for the financial well-being of the

family is addressed:

                     Mr. Mell provides the financial support for our client's
               household, including three children. He docs so through W.H.
               Mell, Inc, a business he owns and operates. Ms. Mell is concerned

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                that if Mr. Mell is not available to operate the business because he
                is detained, he will be unable lo support the family.

                [Exhibit "E" (Correspondence from Ceconi and Cheifetz, dated
                May 25, 2018)]

        Furthermore, it is with the unwavering support of his family that we ask for Mr. Mell' s

release on bail. Mrs. Mell has made it clear that despite her recent filing for divorce, she "is

supportive of Mr. Mell's release on bail." Exhibit "E" (Correspondence from Ceconi and

Cheifetz dated May 25, 2018).

        Not a Flight Risk: Mr. Mell Contacted a Lawyer and Offered to Turn Himself In.

        Mr. Mell was first made aware in December 2017 of this criminal investigation against

him that was initiated by the Hunderton County Prosecutor's Office. At that point, Mr. Mell

contacted Marcy McMann, Esq., a criminal defense attorney in Morristown, New Jersey.

        Mr. Mell did not flee or leave the jurisdiction. Instead, he hired counsel to represent his

interests in the criminal investigation and hired counsel to handle demands for money made by

the alleged victim's family.

        On December 28, 2017, Ms. McMann sent correspondence to Assistant Prosecutor Kelly

Daniels at the Hunterdon County Prosecutor's Office to advise the prosecutor's office of her

representation and relaying Mr. Mell 's offer to cooperate and surrender if any criminal charges

were to be filed against him. Exhibit "F" (Correspondence from Marcy McMann, Esq. dated

December 28, 2017). From that time until his arrest, Mr. Mell had ample opportunity to flee the

jurisdiction if that was his intention. Rather, he was preparing to submit to the jurisdiction of the

court. The defendant believes this is a very telling fact when considering risk for flight.




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        Not a Flight Risk: Mr. Mell's Medical Needs Were Documented for the Jail.

        On February 26, 2018, during the pend ency of the criminal investigation, Mr. Mell

secured a letter from his doctor, Arthur Scott Campbell, M.S., M.D, in anticipation of being

arrested. In the letter, Dr. Campbell writes about his long history with Mr. Mell as well as his

treatment for depression and anxiety. The letter states:

               He informed me almost three months ago about potential legal
               issues, and I have been seeing him for these past three months,
               because of the stress and anxiety associated with his potential legal
               issues .... He has recently informed me that in fact that he will be
               incarcerated for at least two days in the near future. He must not
               abruptly discontinue these medications while incarcerated, as to do
               so could trigger seizures and death.

               [Exhibit "G" (Letter from Dr. Campbell, dated Feb. 26, 2018)]

       Mr. Mell is not a person who intends to and/or has the pre-disposition to flee from his

problems. Uniquely, he was actually having his physician prepare the jail for his arrival, not the

actions of a person who presents a flight risk. His actions during the pendency of the criminal

investigation not only demonstrate accountability and responsibility, but also go well beyond

good faith already demonstrated to this Court with evidence of his submitting to arrest that rarely

is shown in cases.

       Not a Flight Risk: Mr. Mell Returned to the Jurisdiction after International Vacations.

       Perhaps more telling, is the fact that during the time that Mr. Mell had knowledge of the

criminal investigation and impending arrest, Mr. Mell took two international vacations with his

children to the Dominican Republic and the Bahamas.




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        In early March 2018, Mr. Mell traveled with his son, William, and daughter, Emily,

enjoying a week in the Dominican Republic for their spring break. In late March 2018, Mr. Mell

took his daughter, Eliza, and her friend for a week on the island of Nassau in the Bahamas.

       Each time, Mr. Mell returned to New Jersey, and it was not until May 9, 2018 that Mr.

Mell was formerly charged by the United States Attorney's Office. Again, his opportunity to

flee the impending arrest was ample, and he did not.

       Not a Flight Risk: Mr. Mell No Longer Has Access to Planes and Helicopters.

       Mr. Mell and his wife have two aviation companies, Aero Care One, LLC and WNFW,

LLC, that own 2 airplanes and 1 helicopter. The airplane company is called Aero Care One,

LLC and is 99% owned by a family trust frir the benefit of the three Mell Children. Ms. Mell has

1% ownership of the company and is the designated trustee of the company. Aero Care One,

LLC has no employees and Ms. Mell has already sent a letter to Pretrial Services advising that as

trustee, she agrees not lo allow Mr. Mell lo have access or use the planes/helicopter if he rs

released on bail. Exhibit "E" (Letter from Ceconi and Cheifetz, dated May 25, 2018).

       Additionally, Mr. Mell has taken proactive steps to secure the planes and eliminate his

access to them to alleviate any concerns the Court has that the planes may be used lo flee. The

King Air Beechcraft 13200, located al the Somerset County Airport, is stored in a hangar and the

locks on the hangar have already been changed subsequent to his arrest and with his full support

and permission. Mr. Mell agrees to turn over any keys in his possession. Additionally, Mr. Mell

himself executed a memorandum of understanding which was directed lo the Somerset County

Airport which states that he agrees not lo access or use any hangar or aircraft at the Somerset

County Airport including but not limited to a 1981 Beech King Air. Exhibit "l-1" (Somerset


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County Airport Agreement dated May 27, 2018). These arc not the actions of a man intent of

fleeing the court's jurisdiction.

         The second plane, a Hawker XP800, is stored in Pennsylvania. This plane has been

grounded frir unpaid bills, and it also requires a charter as well as an FAA flight plan before it

can be flown. Moreover, Mr. Mell lacks the rating and ability to fly this particular aircraft.

        The helicopter is owned by WFNW, LLC which is a leasing company, through which

Mr. Mell purchased the helicopter. The helicopter is leased by Platinum Helicopters, LLC and

has been used as a charter helicopter for executive travel. It is stored by Evan Van Gilson who is

a friend of Mr. Mell's as well as a former law enfrirccmcnt officer. In preparation of today's

detention hearing, the keys to the Hangar have been changed, and Evan Van Gilson agrees not to

provide access to Mr. Mell. Mr. Mell agrees to turn over any keys he has.

        Finally, Mr. Mell agrees to forfeit his pilot's license as a condition of bail.

        The Pretrial Services Interview.

        Shortly after his arrest on May 9111, Mr. Mell had an interview with U.S. Pretrial Services

Officer David E. Hernandez. At the onset, May 9111 was an emotional and traumatizing day for

Mr. Mell. Mr. Mell is a successful professional without a criminal history. On that day, agents

from the Federal Bureau of Investigations and other law enforcement officers executed a search

warrant at his residence and arrested him. The events of the day letl Mr. Mell in shock and

further exacerbated the depression and anxiety that he had been dealing with since the death of

his friends.

        While pre-trial services interviews are a routine after Defendants are arrested on federal

charges, the day and effects of the day were far from routine for Mr. Mell. Mr. Mell did not


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deceive, nor was it his intention to deceive Mr. Hernandez. Instead, the trauma and anxiety of

being placed in jail for the first time in his lifo may have caused an understandable lapse in

understanding and recollection of everything asked of him by Mr. Hernandez.

        Additionally, Mr. Mell has an extremely complex financial situation which includes

multiple businesses and complicated trusts that are applicable to most of Mr. Mell and his

family's assets.   The management of Mr. Mell's assets require accountants and lawyers to

understand. And, while it may appear that Mr. Mell may have a substantial amount of assets,

most assets are held in irrevocable trusts for the sole benefit of his three children.

       We respectfully ask these factors be considered when assessing whether Mr. Mell was

truthful or had an intention to deceive Mr. Hernandez.

       Pretrial Services Risk Assessment and Release Report.

       Defense counsel had an opportunity to meet with Mr. Hernandez and review his Risk

Assessment and Release Report. Mr. Hernandez documents several concerns after speaking with

Mr. Mell's wife, Kimberly Mell, and/or comparing the Mr. Mell's answers to other documents or

known facts. Specifically, Mr. Hernandez notes the following:

           •   Mr. Mell failed lo disclose an application for a duplicate firearms
               ID card and application for 2 handguns filed at the Bedminster
               Police Department on May 8, 2018;

           •   Mr. Mell failed to acknowledge a mental health history and that he
               was taking medications at the time of his arrest;

           •   Mr. Mell failed to identify a business that he owns, namely,
               Gulfstream CM, LLC.

           Firearm's Identification Card and Handgun Permit.

           On May 8, 2018, one day prior to his arrest (though the date of his arrest was

unknown by Mr. Mell at the time), Mr. Mell filled out a request frir a duplicate Firearms
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Purchaser Identification Card.      Additionally, on the same form, Mr. Mell applied for two

handguns. Mr. Mell submits that these applications were not to harm himself or others. Instead,

the intention for the applications was for the protection of himse!J'. his family, and the family's

dogs from coyotes and other wildlife recently seen on his property. This claim on its face could

certainly be interpreted as suspicious. But, it is in fact provable.

            To further evidence his purpose in securing the firearms permit, our firm employed

the service of Daniel Coleman to take statements from witnesses that communicated with Mr.

Mell about the purpose of the above-mentioned applications. Mr. Coleman worked as a detective

supervisor at the Morris County Prosecutor's Oflice when I served as the Morris County

Prosecutor from 2007 through 2013. He now owns a private investigation company.

            In one statement, Alan Fournier, a friend and neighbor of Mr. Mell, recalled a text

conversation that he had with Mr. Mell about Mr. Mell's "coyote problem." Mr. Coleman's

report of the interview states;

               Mr. Fournier showed me his cell phone and the text message
               exchange he had with Mr. Mell. (Images of the text message
               conversation are at the bottom of this report.) The conversation
               began on Sunday, April 29, 2018 at 7:59 PM, when they were
               scheduled to get together, and Mr. Mell reported that he was
               delayed because he (Mr. Mell), "Was chasing Zucc from coyotes."
               Their text conversation resumed on Monday, May 7, 2018 at 5:35
               PM when Mr. Mell asked Mr. Fournier, "Hey I hope it is ok I put
               you down as a reference for my firearms ID card. I have some
               coyotes I need to deal with." Mr. Fournier inquires, "When arc
               they around?" Mr. Mell responds, "A lot these days. Scaring me
               actually." Their text conversation resumed on Tuesday, May 8,
               2018 at 5: 16 PM. Mr. Mell writes, "Hey try to return the firearms
               referral when you get it if you don't mind. They say that is usually
               what holds things up. There are 2 coyotes that are hanging around
               and I think they think Zucc is one of them."

               [Exhibit "I" (Coleman Report, dated May 22, 2018)]

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       Diane Frederick, an employee at W.H. Mell, also recalled speaking with Mr. Mell

regarding his "coyote problem." Mr. Mell and Ms. Fredrick often discussed dogs because each

of them had two dogs which allowed them to commiserate about the challenges of raising the

two dogs. On May 21, 2018, Mr. Coleman interviewed Ms. Frederick about the conversation she

had with Mr. Mell.

              Ms. Frederick stated that the conversation took place the first week
              in May, 2018, possibly Tuesday, May 1, 2018 or Wednesday May
              2, 2018. Ms. Frederick stated that the day the conversation took
              place, Mr. Mell called her into his office to discuss an incident that
              occurred on his property involving coyotes and his dog. She
              explained that they often discussed dogs, as Mr. Mell and Ms.
              Frederick both have two dogs each. She stated that Mr. Mell has a
              husky breed puppy named "Zuck," who is approximately 9 months
              to one year old, and another smaller breed dog. Ms. Frederick
              described the incident that Mr. Mell reported to her involving the
              coyotes and his dog. Mr. Mell stated that he was preparing to go to
              a dinner and was getting out of the shower when he looked out the
              window. Outside, he saw his dog Zuck sitting on the edge of the
              property. He was looking up at two coyotes, on a ridge on the
              outskirts of the property. Mr. Mell immediately got dressed, ran to
              the barn, grabbed a machete and chased the coyotes away. Ms.
              Frederick stated that there is no fence surrounding Mr. Mell's
              property and he was concerned about the coyotes killing his dogs.

              [Exhibit "J" (Coleman Report, dated May 22, 2018)]

      Mr. Mell lost his firearms identification card, so he went to the police station on May 8th to

apply for a duplicate copy of his firearms identification card.      Exhibit "K" Application for

Firearms Purchaser Card and/or Handgun Purchase Permit, dated May 8, 2018). Once at the

police station, Mr. Mell was advised by a woman at the window that he should also apply for a

handgun permit if he ever wanted to purchase handguns. Mr. Mell was told the paperwork was

the same.


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            To that end, Mr. Coleman interviewed Chief Rock of the Bedminster Police

Department. Chief Rock who confirmed the police were aware of the coyote problem in the

Bedminster area. Chief Rock also confirmed that the advice of the police department is to apply

for multiple gun permits, due to the convenience of having only one application. Mr. Coleman's

report states;

                 Chief Rock confirmed that Mr. Mell submitted an application for a
                 "Lost or Stolen ID Card." He did not know who took Mr. Mell's
                 application, but stated it could have been anyone at the police
                 department,. depending upon when he submitted the application.
                 Chief Rock confirmed that it is common practice to advise
                 applicants to submit multiple Applications to Purchase a Handgun,
                 even if they are not going to use them. He stated, "It's more
                 convenient. You can get up to six in one ask. Ultimately a lot of
                 people just get them and never purchase anything. I spoke to Chief
                 Rock about Mr. Mell's assertion that he needed to purchase a long
                 gun due to seeing coyote on his property. Chief Rock stated, "It's
                 Bedminster" and that it was "coyote season." He further stated
                 "with the amount of property he has, he probably could make
                 application to fish and game to shoot wildlife on his property."

                 [Exhibit "L" (Coleman Report, dated May 23, 2018)]

        Mental Health and Medications

       In the interview with Mr. Hernandez, Mr. Mell failed to identify his anxiety and

depression as a mental health disorder. Additionally, Mr. Mell failed to state he was on any

medications at the time of his arrest. As discussed above, the failure to disclose these issues and

medications where simply a misunderstanding and not an intent to deceive. Just days prior to his

arrest, Mr. Mell met with his doctor, Dr. Campbell. During that consultation, Mr. Mell explained

to Dr. Campbell that he was feeling much better, and that he was significantly less anxious and

not depressed at all. Dr. Campbell was beginning to wean Mr. Mell oJT of Clonazepam, he had

ceased taking Paxil, and was taking Xanax only as needed.

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        Additionally, Mr. Mell did not associate his anxiety as a mental health problem that was

responsive to Mr. Hernandez's question.        Aside from the stigma attached to mental health

disorders and their diagnosis, it is understandable that Mr. Mell associated his anxiety and

depression as temporary, having only suffered from these issues because of the death of his close

friends. These issues were exacerbated by a possible legal investigation.

        Finally, Mr. Mell's lack of disclosure of his mental issues and medications are not

relevant to whether the Defendant is a flight risk or a danger to others.

        Gulfstream CM, LLC

        According to Bloomberg.com, Gulfstream CM, LLC is an asset and wealth management

company that provides investment advisory services.               The Company offers portfolio

management and financial planning services, as well as manages investors accounts. Gulfstream

CM serves clients in the United States. The company was started by Mr. Mell and his two

business partners in April of 2011. Mr. Mell retired from the company on April 6, 2018. Exhibit

"M" (Agreement between S. Bradley Mell and Gulfstream CM, LLC dated April 6, 2018).

        In the interview with Mr. Hernandez, Mr. Mell did not identify Gulfstream CM, LLC as

an employer or a source of revenue. In a subsequent interview with Kimberly Mell, Ms. Mell

identified Gulfstream CM, LLC as a present employer. This was inaccurate.

       The fact of the matter is Mr. Mell did not work for Gulfstream CM, LLC at the time of

interview on May 9, 2018 because he retired from the company on April 6, 2018. He docs,

however, receive retirement income from the company ii.Jr 5 years, aJler the date of his

retirement.




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 D.     Nature and Seriousness of Danger Posed by Defendant's Release.

        We are aware of the trepidation that law enforcement and the Court have with releasing a

person they believe is a danger to himself and others. However, as the exhibits show, Mr. Mell

has never been a danger to himself or others. Furthermore, Mr. Mell was aware of the potential

criminal investigation for several months and did not flee, divest assets, or harm himself. Instead

he chose to acknowledge and prepare for his as discussed above.


                     CONCLUSION AND PROPOSED BAIL PACKAGE

       Mr. Mell has carried his burden of production to overcome the rebuttable presumption of

detention. See Perry, 788 F.2d 114. The government has not proved by preponderance of the

evidence that Mr. Mell is a flight risk, see flimler, 797 F.2d 161, nor has the government proved

by clear and convincing evidence that Mr. Mell is a danger to himself or the community. See 18

u.s.c. § 3142(!).
       As to factor one under 18 U.S.C. § 3142(g), the nature and circumstances of the offence

charged, I 8 USC § 2422(b) (Online Enticement of a Minor) is meant to punish a person

anonymously sitting behind an electronic device trolling the internet for underage victims. There

is no allegation in this case that Mr. Mell was an anonymous troll. Rather, Mr. Mell and the

minor were introduced to each other through an adult intermediary (i.e., the minor's mother) and

later allegedly communicated about a relationship that was already in existence.

       Moreover, there is no allegation in this case that Mr. Mell attempted to overcome the will

of the minor though "inducement," "persuasion," "enticement," "coercion," or otherwise See

Hite, 769 F.3d 1161 (D.C. Cir. 2014) (an effort to transform or overcome a minor's will is

required under the statute). While the communications here are alleged to be sexually charged,

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none of the communications demonstrate any effort by Mr. Mell to transform or overcome the

minor's will. Simply discussing sexual activity with a minor does not equate to an effort to

transform or overcome the minor's will under the law.

          As to factor two, the weight of the evidence against the defendant, we believe for the

reasons set forth in the analysis of factor one that the government has misapplied the law by

charging Mr. Mell with violating 18 USC.§ 2422(b). This case is overcharged.

          As to factor three, Mr. Mell has a lifetime of contacts in the New .Jersey area. Along with

the support of his friends, Mr. Mell is anchored by the love and support of his family. Mr. Mell

is a father to two daughters, Emily and Eliza, as well as a son, William. I-le served for 15 years

as a board member at Westminster School, the last two years of which he also served as Chair of

the Investment Committee. Mr. Mell also devoted time and service on the Far Hills Day School

board for 10 years as a way to give back to the school that helped him overcome his extreme

dyslexia. He served for over 10 years as the Chairman for Building and Grounds. And, in 2017,

Mr. Mell was celebrated with a special dedication for his work during his 10-year volunteer

service to the school.

       Mr. Mell holds several professional licenses in finance, including the series 63, 7, 52, 24

and 53.     He is President of W.H. Mell, and responsible for the continued employment and

financial support of over 15 associates and their families, support which will abruptly cease if

Mr. Mell is not able to access his business to keep it running during this litigation. Moreover,

Mr. Mell' s own family relies on the support that his income provides, and interruption would be

an undue burden on his family as well.




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        In addition, Mr. Mell has started his own charitable foundation, Air Lifeline (merged with

Angel Flights in 2009), that has donated to families of children with medical needs and provided

them with the ability to fly anywhere in the country in order to received medical treatment. Mr.

Mell is also a donor to the Mooreland Foundation, Morristown Memorial Hospital, NJ Visiting

Nurse Association, Far Hills Day School, Westminster School, Red Cross, and Brady Life Camp

(a Newark inner-city kids camp). He has given to countless other charities choosing to remain

anonymous in his generosity.

        Mr. Mell has led of life free from criminal prosecution and is considered by his friends

and family as an asset to his community. Mr. Mell has consistently demonstrated throughout his

life his accountability and integrity to his family, his business, his employees, his clients, and the

community. His invitation to sit on multiple school boards, local clubs and organizations, along

with his 25-year stellar track record with his clients further shows that he is a man who is trusted

by many respected members of our community.

       Mr. Mell is not a flight risk.        His actions during the pendency of the criminal

investigation not only demonstrate accountability and responsibility, but also go well beyond

good faith. Though becoming aware in December 20 I 7 that he was under investigation by the

Hunterdon County Prosecutor's Office, Mr. Mell did not flee or leave the jurisdiction. Instead,

he hired counsel to represent his interests in the criminal investigation and offered to turn himself

in if he was charged. He also hired counsel to handle demands for money made by the alleged

victim's family.

       These are not the actions of a person who intends to and/or has the pre-disposition to flee

from his problems. In fact, Mr. Mell further demonstrated his accountability when, in February


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2018, he secured a letter from his doctor so that if he was arrested, the jail would be aware of his

medical needs.

        Mr. Mell's trustworthiness was agam demonstrated when, prior to being charged but

during the time he was aware of a pending investigation, Mr. Mell took two international

vacations the Dominican Republic and the Bahamas, each time returning to New Jersey.

        Furthermore, Mr. Mell has taken proactive steps to secure the planes and helicopters to

ensure that he no longer access to them. The King Air Bcechcraft 13200, located at the Somerset

County Airport, is stored in a hangar and the locks on the hangar have been changed. Mr. Mell

executed a memorandum of understanding which was directed to the Somerset County Airport

which states that he agrees not to access or use any hangar or aircraft at the Somerset County

Airport including but not limited to the 1981 Beech King Air.

        The second plane, a Hawker XP800, is stored in Pennsylvania. This plane has been

grounded for unpaid bills, and it also requires a charter as well as an FAA flight plan before it

can be flown, and Mr. Mell lacks the rating and ability to fly this particular aircraft.

       The helicopter is owned by WFNW, LLC which is a leasing company, through which

Mr. Mell purchased the helicopter. The helicopter is leased by Platinum Helicopters, LLC and

has been used as a charter helicopter for executive travel. It is stored by Evan Van Gilson who is

a friend of Mr. Mell's as well as a former law enforcement oflicer. The lock to the hangar has

been changed, and Evan Van Gilson agrees not to provide access to Mr. Mell.

       Additionally, Mr. Mell agrees to forfeit his pilot's license as a condition of bail, and Ms.

Mell, trustee of the company that owns the airplanes and helicopter, has already advised Pretrial




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 Services that she will not allow Mr. Mell to have access or use the planes/helicopter if he is

 released on bail.

        As to the concerns raised by in the Pretrial Services Risk Assessment and Release Report,

the record is replete with witness statements that Mr. Mell applied for a duplicate firearms

identification card and handgun purchase permit in order to protect himself, his family, and the

family's dog from coyotes and other wildlife recently seen on Mr. Mell's property.

        Additionally, Mr. Mell's lack of disclosure of his mental issues and medications are not

relevant to whether the Mr. Mell is a flight risk or a danger to others. First, Mr. Mell did not

associate his anxiety as a mental health problem that was responsive to the questions asked by

Pretrial Services. Mr. Mell associated his anxiety and depression as temporary, having only

suffered from these issues because of the death of his close friends, exacerbated by the criminal

investigation. In addition, Mr. Mell met with his doctor for a consultation just days prior to his

arrest, and the doctor was beginning to wean Mr. Mell oil Clonazepam, who had also advised

Mr. Mell to cease taking Paxil and only take Xanax as needed.

        Finally, in the interview with Pretrial Services, Mr. Mell did not identify Gulfstream CM,

LLC as an employer or a source of revenue. In a subsequent interview with Kimberly Mell, Ms.

Mell identified Gulfstream CM, LLC as a present employer. The fact of the matter is Mr. Mell

retired from the company on April 6, 2018 and therefore did not work for Gulfstream CM, LLC

at the lime of interview on May 9, 2018.

       Mr. Mell is neither a danger to himself or others. And, though aware of the criminal

investigation for several months, Mr. Mell did not flee, divest assets, or harm himself. Instead,

Mr. Mell acknowledged the investigation and offered surrender himself if charges were filed.


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Based on the foregoing, we believe a combination of conditions will reasonably assure Mr. Mell's

appearance at trial and safeguard the community in the interim:

            I. Mother's house as asset (Approx. $800,000)

            2. Residence- Dan and Helen Paglia, I 050 Lager Cross Road, Far
               Hills, NJ; second floor apartment. As professionals, they are fully
               aware of their responsibilities as dependable custodians. They take
               on the responsibility willingly and freely.

            3. Custodians- Dan and Helen, Diane Hendricks

           4. Agrees not to leave the state of New Jersey without Court approval

            5. Lockdown of the Planes and Helicopters

           6. Turn over keys to the Planes and Helicopters

           7. Turn over pilot's license

           8. Mandatory Ankle Monitoring pursuant to statute

           9. Forfeit passport (already seized during execution of the search
               warrant)

           10. No contact with the alleged victim.

           11. Follow recommendations of Psych evaluation.




                                                           Very Truly Yours,
                                                           THE BIANCHI LAW GROUP, LLC
                                                           Attorney.fi1r Steven Bradley Mell

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                EXHIBIT A
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  May 22, 2018


  To Whom It May Concern,


  This letter is being written because I want you to understand who my son, Steven Bradley Mell is
  as a person. Since he was a young boy, he has always been a hard worker with integrity and
  determination to not only succeed at a job, but to do it the right way. He has carried this through
  into adulthood where along the way he has made many friends and has earned the respect of
  individuals and industry professionals! Eventually he took over as the President of the family
  business from his Father and has made it an even more successful and reputable company in the
  investment industry where it is highly regulated and mistakes do not go unpunished. To this day,
  there has never been any negative action taken against him or the business.

  Unlike a lot of men in the profession, Bradley is not the type of person who is influenced by
  people who are running around running to cocktail parties and flaunts their money. In fact, despite
  his success, he spends more time giving than taking while taking drastic steps to keep his actions
  as low key and private as possible as he is not looking for the attention. A great example of this is
  when a young man he knows lost all of his parents retirement money on bad investments. Instead
  of just saying that is too bad and walking away, Brad out of his own pocket put the amount of
  money lost back into the family's account unbeknownst to the family. Eventually, when they found
  out what Brad had done, they wrote a beautiful letter to thank him even though he didn't have to
  do it. Another example is when he sent his plane up to Nantucket, at his own expense, when a
  friend's father had died to make sure that all of his friends friend(s) were there for the services
  and his friend had no idea who did it. It wasn't until a week or two later that the friend finally found
  out and he was incredibly grateful to Brad for having made sure as many people as possible
  could be with his family at a time of crisis.

 The final example I'll give you is when one of Brad's oldest friends experienced his two sisters
 being killed in an automobile accident. When Brad found out from his older brother what had
 happened, he immediately dropped everything and went to the hospital to be with his friend and
 the Father to provide support in any way he could.

 In conclusion, I want the courts to know I have never had a problem with Brad and that he is not
 some little rich boy running around showing off. He doesn't smoke, drink or do drugs for which I
 am very thankful for as a mother and if I had a daughter, I would love to have her marry a man
 like him. I know every mother will say how wonderful their kids are, but Brad truly is a good son
 and I am very proud of him as has he been there for me at 81 and fighting cancer and always
 with a smile. He adores his family more than you will EVER know and spends every moment he
 can with them when he is not working, whether that being going out to his daughters concert or
 his other daughters athletic game or taking his son to his games and loves it. We are a very close
 family and will always remain that way ... l could not ask anymore of him so I ask you to have an
 understanding who Brad is as a person.

 Thank you

 Diana D. Mell
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 May 28th, 2018

 lo Whom this may concern:
 This is a character reference for Steven Bradley Mell of Bedminster (Far Hills) New Jersey.

 Brad, as he is known, and I, ,1ave literally known each other our whole lives, we grew up
together as neighbors and were in the same class at the same school, we were and are as the
expression goes, best friends, we also shared a core group of friends that would become like
 brothers and sisters to one another during these early years. During our childhood/young adult
years Brad and I worked together over many summer vacations, sand-blasting pools, installing
 post and rail fencing, cutting fields(him more than me) and cutting an extremely large amount
of grass. Our summer entrepreneurial partnerships culminated when we formed a company
together inspired by his growing love for flying, called Aero Care Services, to capitalize on what
he had recognized as an untapped market, detailing (cleaning) small private planes, eventually
we would add cars to our service, and for several summers the two of us spent 10 hours a day
together meticulously cleaning planes and cars. When it came lime for the two of us to move
on to the next stages of our lives, the discussion of selling our business was entertained,
however, Brad (and I agreed) was quick to conclude that that was not a risk worth taking,
regardless of the potential short term benefit to ourselves. His concern was that we had forged
a high degree of trust with our customers lo which he couldn't in good conscience risk
Jeopardizing by putting them in the hands of someone we didn't know. So al the end of the
day, the decision was made to wind the business down. Besides the obvious strong work
ethic Brad possesses, his real defining character trait is his integrity, it's a quality that pervades
every aspect of his life. On a further note, Brad would keep the Aero Care Services name and
eventually put it to much better use later in life, providing life flights/Angel Flights to patients in
medical need who didn't have the means or resources to otherwise reach specialized treatment
facilities out of their geographic reach, free of charge.

While we parted ways geographically tor our high school and collerJe years we always
reconnected during our vacations back in New Jersey, in fact, after we both graduated college
I moved to Boston where Brad had been living while attending Boston University, and for the
next several years we sl1ared an apartment while we embarked on our respective career paths.
Perhaps we would have lived together for longer had it not been for the fact that during that
time Brad met Kim Fluggles, who would soon become Kim Mell, for which I had both the
pleasure and honor at their wedding to serve as Best man.

So when asked if I would be willing to provide a characl(• r reference on behalf of Brad, the
answer was quick and easy, "Of course." Tl1e difficulty l1owever, comes in trying !o convey a 50
year relationship into a short brief synopsis. Certainly one starting point would he to describe
the product of his life, and work backwards to see how he qot there.

If one were to meet his three lovely children, Emily, Eliza, and William it would be immediately
apparent to any observer of their reserved graciousness, not to be mistaken for politeness,
although they share that quality as well. It wouldn't take long for an outsider looking in to notice
tt1e energetic qlow that these children exude, call it a smile that seems to be there even in the
absence of a smile. These hard lo describe, but noticeable character traits, may be brushed off
by casual observers simply as the product of good fortune, but those judgements would be
mistaken, dare l say just plain wrong. To anyone whose had the opportunity to spend time with
Brad and his family they would be familiar with what I am describing and it would likely bring a
warm smile to their faces. If !here's any question as to what I'm describing, the answer is
simple. Love. Now to the prying eye, such a statement might be brushed off or discounted as
a basic parental responsibility, the baseline that we, as parents, should be expected to provide,
and while most would agree with that, and Brad certainly has provided !hat, that is not what
I'm referring to. The aspect of Brad that I'm trying to art.iculate is that of, engagement.
Perhaps a quick anecdote to elaborate the point. For the many people who have dogs, most
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will tell you they love them, end that would likely be true. Tl1en there are people who have
dogs and, like children naturally are inclined to do, can be frequently spotted playing with them
regularly, in their case, you know they love them, you see it through their actions, that's
engagement. Brad is an engaged and involved lather, l1is lov,J for his children expressed in
both word and action and in plain view for all to see, and frankly, given how hard he has had to
work to achieve the level of success he's earned, it makes it that much more remarkable. The
result, or sl1ould I say proof of these statements lie in Brad's children and their response to all
that has recently transpired. While terribly disappointed over !heir father's situation, all three
are unwavering in their love and support for him.

Aside from being a loving parent, other attributes that describe Brad are, conscientious,
generous, and committed. These traits are part of Brad's DNA anc! are reflected in the manner
in which he conducts himself in all aspects of his life and they have not gone unrecognized by
those in his community. Brad has been sought out to serve on the board of trustees for
multiple institutions, committing to several for which I am aware. One of which perfectly
encapsulates the message 1hope to convey. Brad served on the Board of Trustees at Far Hills
Country Day School, the school we both attended together and the school he would send his
three children to. In May of 20i 7 ! attended an event that Far Hills Country Day School
sponsored solely to honor Brad, it was not I should empl·1asize, lo simply thank him for some
outsized financial gift, it was however, to present him with what they called "The Unsung Hero
Award." This newly created award inspired by Brad's actions was Far Hills Country Day
School's way of not allowing ail that Brad had done for the school to go unrecognized. Tl1e
irony of it all is that Brad doesn't seek out recognition, he is simply interestsd in how he can be
most affective with his time and support, helping whenever and however he can.

Brad, who has been extremely fortunate in many aspects of his life has not been without life's
set-backs. !n October of 2012 liis helicopter crashed, killing two of the three occupants, the
pilot, Will Ellsworth, was a dear friend and amongst the two who perished, it was an event that
had a major impact on his life, as i1e felt, had he been co-piloting perhaps things would have
worked out differently. His bond with t11e Ellsworth family thankfully has only grown stronger,
and he continues to fly Molly Ellsworth, the mother of Will Ellsworth, wl,enever and wherever
she wants to go, I also believe she was one of the people wlio expressed interest in housing
Brad. Please don't confuse tt1is event as an attempt to garner sympathy, it's really about
Brad's relationship with the Ellsworth family and the outpouring of support for one another
which continues to this day. (the tail numbers on Brad's plane are Will Ellsworth's birthdate).

I have been one of !he few people outside of family who has been in contact with Brad since
he was arrested, and as is typical of Brad, his first concern is for his family and his employees,
he feels deeply responsible tor the impact his situation has iKKi on all of them, and wants
nothing more than the opporiunity to alleviate this impact to the best of his abilities, and
especially in the case of llis employees, be!ore it becomes irreparable. Brad understands and
is committed to making the personal sacrifices he'll need to undertake to accomplish this,
unfortunately it is made extremely difficult being held where he is.

Personally, like his children, extended family, and friends, I too will support Brad through this
time in his life where things appear to have gone off path. Brad has earned the love, trust, and
respect of many over the course of his life, and as such we now readily await to see how we
can support l1irn in his time of need.




Michael Simon Scott
1570 Clermont Drive 1/102
Naples, FL 34104
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                EXHIBIT C
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     May 23, 2018


     To Whom It May Concern,


     The purpose of this letter is to give you an understanding of who and what my youngest brother,
     Steven Bradley Mell is all abcut as a person. Bradley has always been a hard worker with
     integrity and determination to not only succeed at a job, but to do it the right way starting when he
     was 16 years old. At that age he started his own business with a friend washing and detailing the
     inside/outside of airplanes and cars. He did such a great job that ii didn't take long for hrs
     business to grow by word of mouth and for the next 4 years or so that was his summer job. He
     has carried his work ethic and integrity through into the business world where he has made many
     friends and has earned everyone's respect! In fact, he is so highly respected that he was asked to
     oe on the Board of Directors at a number of places, including the private clubs he belongs to as
     well as private schools and charities.


     Another point I'd like to make is that despite his success, he spends more time giving than taking
     while taking drastic steps to keep his actions as low key and private as possible as he is not
     looking for the attention. One great example of this is that Brad does Air Lifeline which is now
     known as Angel Life flights for people that need better medical care in a different part of the
     country so he either flies them himself to wherever or, at his own expense, has a pilot use his
     plane to get the patient to wherever they need to go. Another example is the amount of money he
     has helped raise for the schools and charities to help others (i.e Brady Camp for underprivileged
     kids from Newark. Mooreland Foundation, et al.). The list could go on and on but the bottom line
     is Brad is a man of strong character and integrity!


     In conclusion, I want the courts to know that Brad has have never been a problem to anyone and
     he adores his family more than you will EVER know! Brad truly is a good son and has been there
     for our Mother who is 81 and fighting cancer. One last thing I'd like to say is that Brad is the
     person my wife and I chose to be legal guardian of my 2 little girls should anything ever happen to
     us and to this day that has not changed. We KNOW him and TRUST him!!


     Sincerely,
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                EXHIBITD
 Case 3:18-cr-00757-BRM Document 12 Filed 06/05/18 Page 37 of 101 PageID: 62



                                                                                   May 24, 2018

To Whom it may concern -

I recently heard that Brad Mell is being held in jail. I have not spoken to Brad in several months and have
no details of what he has been accused of doing. I am writing because I have known Brad for most of my
life since we were childhood friends, and I wanted to share my observations of and personal interactions
with Brad in support of his character.

Brad and I grew up on the same street. While we were not extremely close friends, we attended the same
school and played on the same sports teams. Brad has always been a person who stood up for people and
treated everyone with respect regardless of their age and role. He was well-liked by everyone and would
always stick up for the underdog and be a trusted friend. In middle school, Brad would occasionally invite
me to his house let me ride on his mini-bike or snowmobile that he had worked very hard to buy for
himself. Starting in grade school, Brad was very driven and always had a job of sorts, and yet was very
generous with his coveted "toys" and loved to share the excitement of riding them.

Brad and I would see each other occasionally during our high school and college years. As adults, we both
eventually moved back to the community in which we grew up in New Jersey to raise our families. In my
observation, Brad has been a very involved father, dedicating time to his kids at their school and in sports.

I can't remember all the history, but Brad began to work in his Dad's business (which I recall as good, but in
somewhat of a decline before Brad became more involved). Similar to his childhood, Brad worked
extremely hard, strengthened the business and built significant professional success. Brad has applied this
success to help others. He has been an active volunteer and board member for many local organizations.
He gives generously of his time and money to help causes, organizations and people.

The most important thing I remember about Brad, and why I am writing this letter, is what Brad did for me
when my father died. Brad knew my father and knew how close we were. Brad had a similar relationship
with his father. My father died in July 2012 and we planned the funeral shortly thereafter. It was in the
middle of summer and many of my friends were on vacation and busy with their own young families.
Entirely on his own, Brad arranged to fly about 8 of my closest friends to attend the service and return
them back to their own families the same day so as not to disrupt family vacations. While Brad knows
these folks through mutual friends, these were my closest college friends - not his. He knew how much the
effort would mean to me at a very difficult time. He didn't ask anyone to help pay and wasn't doing it for
any kind of personal gain, but rather because he knew how great it would be for me to have such a strong
support network.

These are my personal experiences with Brad and I have always known him to have a great character.

Sincerely,

Perry Hall
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                 EXHIBITE
   Case 3:18-cr-00757-BRM Document 12 Filed 06/05/18 Page 39 of 101 PageID: 64


l.AW OFFICES

CECONI         8c: CHEIFETZ, LLC
CARY B, CHEIFETZ                                                            26 DEFOREST AVENUE
UZANNE J, CECONI                                                                 SUITE 106
KIMBERLY A. RENNIE                                                           SUMMIT, N.J. 07901
VITO COLASURDO, JR.
                                                                                (908) 273-6300
CHRISTINA V. KOLEVICH
                                                                              FAX (9D8) 273-4797
ERIKA PONE HANDLER
                                                                        EMAIL: [LAST NAME]@CCFAMLAW.COM

NANCY C. RICHMOND
LINDA A. MAINENTI WALSH
    COUNSEL
                                             May 25, 2018


Via electronic~ David Hemandez@nipt.uscourts.gov and regular mail
David E. Hernandez, U.S. Pretrial Services Officer
Martin Luther King, Jr. Federal Building & Courthouse
50 Walnut Street~ Room 1018
Newark, New Jersey 07101

                   Re: Mell v. Mell
                       Docket No.: FM-18-724-18

Dear Mr. Hernandez:

    This firm represents Kimberly Mell in connection with a pending matrimonial action with her
husband Steven Bradley Mell. Mr. Mell's legal counsel in that matrimonial action has requested
that Ms. Mell provide your office with certain information that he believes may be relevant to
circumstances under which Mr. Mell may be released on bail. Accordingly, on behalf of Ms.
Mell, I am providing the following information to you which may be confirmed with our client if
necessary.

    First, Ms. Mell is supportive of Mr. Mell's release on bail.

    Second, Mr. Mell provides the financial support for our client's household, including the
three children. He does so through W.H. Mell, Inc., a business he owns and operates. Ms. Mell
is concerned that if Mr. Mell is not available lo operate the business because he is detained,
he will be unable to suppo1i the family.

    Third, there are two aircraft owned by a company that is held in a trust and Ms. Mell is the
trustee of that trust. As trustee, she will not consent to allow him to utilize the aircraft while the
criminal case is pending. Our firm is simultaneously notifying Mr. Mell's counsel that he is
prohibited from utilizing the aircraft during such time period.

    Please advise if you require anything further from me or from Ms. Mell regarding issues
relating to bail.
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CECONI & CHEIFETZ, LLC

David E. Hernandez, U.S. Pretrial Services Officer
Marfin l.. utl·1er King, Jr. Federal Building & Courthouse
May 25, 2018                                                                          Pagel2



     Thank you for your courtesy and kind attention.

                                                             Very truly yours,

                                                             CECONI & CHEIFETZ, LLC




CBC:sag
cc: Nancy C. Richmond, Esq.
    David J. Bruno, Esq., via electronlc and regular mail
    Robert A Bianchi, Esq., via oloctmnio and regular mnif
    Christopher L. Weiss, Esq., via electronic and regular mail
    Samuel Weiner, Esq, via electronic and rogular mail
    Donald A. Ottaunick, Esq., via efectronic and rogular mail
    Richard lglar, Esq., via electronic and regular mail
    Ms. Kimberly Mell, via electronic mall only
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                                                                    STEPHENS. WEINSTEIN
                                                                                   A PROFl:SSIONAL CmU'OfV, TION
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                                                                       20 NORTH PARK PLACE, surm30!
                                                                     MORRISTOWN, NEW JERSEY 0'/960-7102
STEPHENS. WElNSTEIN                                                                                                            (973) 267-5200
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                                                                                                                               (800) 606-0607
GAILS. BOERTZEL                                                                                                                (IN NHW JP.RSCY}
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MARCY M, MCMANN                                                                                                               skippy@sswpn.com
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TYRONE F. SERGIO
 ATTO!tt-.1\YIOll (HIIJ91996
MElllilE.R NI & N\' llARS



                                                                                           December 28, 2017

            VIA FAX (908-806-4618) AND REGULAR MAIL

             Assistant Prosecutor Kelly Daniels
             Hunterdon County Prosecutor's Office
             65 Pai·k Avenue
             P.O. Box 756
             Flemington, New Jersey 08822-0756

            Re;            Brad Mell

             Dear Assistant Prosecutor Daniels:

            Please be advi.sed that we represent Brad Mell.           It is our
            understanding that your office and/or the Whitehouse Police
            Department may be investigating Mr. Mell.          If so, please be
            advised that Mr. Mell is exercising his right not. to make a
            statement.    Any communications regarding thill matter should be
            directed to me.       Should your office intend to file criminal
            charges agai.nst Mr.. Mell, k:i.ndly contact us so we can a:cnrnqe for
            him to cooperate with processing.


                                                                                           Very truly yours,

                                                                                           STEPHENS. WEINSTEIN
                                                                                           A Professional Corporation

                                                                                           By:
                                                                                                        arcy M. McMann
                                                                                                     Attorney ID# 022271993
                                                                                                     m~rcy@sswpa.com
            MMM:cpa
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                EXHIBIT G
 Case 3:18-cr-00757-BRM Document 12 Filed 06/05/18 Page 44 of 101 PageID: 69



                               A. SCOTT CAMPBELL, M.S., M.D.
                                        Gemwal h1remal MtJdici11e
                                     2345 Lamington Road, S,1i1~ JOS
                                      Bedmiustcr, New Jersey 07921
                                   'lei: 908-234-0890 fax: 908-234-1432

2/26/2() 18



To whom it may concern,                                            re: Mr. Steven Bradley Mell

Mr. Steven Bradley Mell bas been my patient for twenty-two years. Following the dcllth or a
very close friiwl in 2012, and the circumstances involved in his death, he has had significant
issues with both anxiety and depression.

He has been on a low dose of Xanax :since the helicopter crash, in 2012. Uc informed me almost
three months ago about potential legal issues, and I have been seeing him for these past three
months, because of the stress and anxiety associated with his potential legal issues. He has been
under tremendous stress, and has had difficulty ihnetioning and sleeping.

I have been prescribing Xanax for several years, at a low dose. In the past three months, 1 have
increased the dose of Xanax, and begun !'axil. As the stress (J/'his situation has increased, I have
increased the dose of Xanax, and most recently, l have been prescribing Clonaz.epam, so that he
can sleep at night. He has been taking about 12 mgs, ofXanax daily, as well as 4 mgs. of
Clonazeparn for sleep at night, in addition to Paxil, 20 mgs. daily.

He has recently informed me that in fact that he will be arrested and incarcerated for at. least two
days in (he near future. He must not abruptly disconti.nue these medications while incarcerated,
as to do so could trigger seizures and death. I will be glad to discuss Mr. Mell's medical
treatment with an appropriate physician, so that he is not subjected to abrupt discontinuation of
his medications. I stress that abrupt discontinuation of his medications can have serious, and
potentially lethal consequences.

You can call me in n1y office at (908) 234-0890, or on my cell phone at (908)963-0636 al any
,imc. [fhis a:Test docs occur· when f nrn not in the of'iicc, please call me on rrry cdi phone.

f have provided a copy of this letter to his lawyers should the arresting officers nol be nblc to
prnmptly n,ach nl('..


Sincerely~

 /l~?P1v
A. Scott Campbell, MS, MD
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                EXHIBITH
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                           OPERATING AGREEMENT

                                    OF

                       AERO CARE SERVICES, L.L.C.


      This Operating Agreement (this "Agreement") of Aero Care
 Services, L. L. C. ( the "Company") is entered into as of June 2 7,
 2000 by S. Bradley Mell ("SBM") and Kimberly Mell ("KM") (SBM and
 KM shall hereinafter, at times, be referred to together as the
 "Members" or .i.ndi vi dually as a "Member") .

      WHEREAS, the Company was formed on June 27, 2000, upon the
 filing of its Certificate of Formation with the Secretary of State
 of the state of New Jersey;

      WHEREAS, the Members desire to adopt an operating agreement
 containing provisions relating to the business of the company, the
 conduct of its affairs and the rights, powers, preferences,
 limitations and responsibilities of its members;

     NOW, THEREFORE, the Members do hereby adopt this operating
agreement as contemplated by the New Jersey Limited Liability
Company Act, N.J.S.A. 42:2B-1 et !?.filL.. (the "Act").

     l.   Name. 'l'he name of the limited liability company governed
hereby is Aero Care Services, L.L.C.

     2.   Purpose.   The Company is formed for the object and
purpose of, and t.he nature of the business to be conducted and
promoted by the Company is engaging in any lawful act or activity
for which limited liability companies may be formed under the Act.

     3.   Registered Office. The address of the registered office
of the Company .in the State of New Jersey is c/o Cole, Schotz,
Meisel, Forman & Leonard, P.A., 25 Main Street, Hackensack, New
Jersey 07602.

     4.   Registered_Agent. The name and address of the registered
agent of the Company for service of process on the Company in the
State of New Jersey is Samuel Weiner, Esq., c/o Cole, Schotz,
Meisel, Forman & Leonard, P.A., 25 Main Street., Hackensack, New
Jersey 07602.

     5.   Members. The names of the Members are as set forth above
in the preamble to t.h.i.s Agreement.



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      6.  _Powers. The business and affairs of the Company shall be
managed by the Manager. The initial Manager of the Company is SBM.
The Manager shall have the power to do any and all acts necessary
or convenient to or for the furtherance of the purposes described
herein, including, without limitation, (i) to incur debt on behalf
of the Company, (ii) to acquire or sell any assets of the Company,
 (iii) to provide indemnities or guaranties in the name and on
behalf of the Company, (iv) to enter into, perform and carry out
contracts of any kind, including, without limitation, contracts
with any person or entity affiliated with the Company, necessary
to, in connection with, convenient to or incidental to the
accomplishment of the purposes of the Company, and (v) to take any
and all other actions he deems necessary, desirable, convenient or
incidental for the furtherance of the objects and purposes of the
Company, and shall have and may exercise all of the powers and
rights conferred upon a limited liability company formed pursuant
to the Act.    The Company shall not be required to hold annual
meetings of its Members.

      In addition, the Members may, from time to time, appoint such
natural persons and such entities as they deem appropriate to
 conduct business on behalf of the Company, to approve transactions
 (including, without limitation, mergers and transfers of assets) on
behalf of the company and to execute documents as an "Authorized
Signatory" of the Company until such authorization is revoked by
the Members or another pe:i:·son or entity authorized to affect such
revocation.     In furtherance of the foregoing, SBM is hereby
delegated full power and authority to conduct the business and
affairs of the Company, including, without limitation, power and
authority to (i) approve mergers, transfers of assets and any other
transactions on behalf of the Company; and (ii) execute any and all
deeds, mortgages, notes, bonds, leases, contracts and other
instruments on behalf of the Company, in each case in the capacity
of an "Authorized Signatory". The foregoing delegation (1) is in
addition to, and shall not be deemed to limit in any way, the
Authorized Signatory's authority to act on behalf o.f the Company as
a result of the Authorized Signatory's ownership, directly or
indirectly, of a controlling interest in the Company or its
Members; and (2) shall continue until revoked by the Members or
another entity or person authorized to affect. such revocation.

     7.   Dissolution. The Company shall dissolve, and its affairs
shall be wound up, upon the first to occur of the following: (a)
the writ ten consent of the Members,      (b)  the withdrawal or
bankruptcy of a Member, or the occurrence of any other event which
terminates the continued membership of a Member in the Company, or
(c) the entry of a decree of judicial dissolution under the Act.



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      8.   Admission,     Percentage    Interests        and    Capital
 Contributions.   The Members are hereby deemed        admitted as the
 Members of the Company as of June 27, 2000.           Each Member has
 contributed to the Company the capital set forth     below. As of the
 date hereof, the Members own percentage interests    in the company as
 follows:

                                  Capital          Percentage
             Member               Contributig_g    Interest

             S. Bradley Mell      $                     99%
             Kimberley Mell       $                      1%


                                          Total,        100%

     9.   Additional Contributions.   The Members are not required
to make any additional capital contribution to the Company.
However, the Members may, in their sole discretion, malrn additional
capital contributions to the Company.

     10. Allocation of Profits and Losses. The Company's profits
and losses shall be allocated to the Members in accordance with
their percentage interests in the Company as set forth in Section
8 hereof.

    11. Distri_butions.      Distributions shall be made to the
Members at the times and in the aggregate amounts determined by the
Members.

     12. Admission of Additional Meml;?,s;rs. One or more additional
members of the Company may be admitted to the company with the
consent of the Members.

     13. ,Limited Liabi;J,Jty.  Except as otherwise provided by tl1e
Act, the debts, obligations and liabilities o.f the Company, whether
arising in contract, tort or otherwise, shall be solely the debts,
obligations and liabilities of the Company, and the Members and the
Manager shall not be obligated personally for any such debt,
obligation or liabill.ty of the Company solely by reason of being a
member or manager of the Company.

     14 . QQVte._J;-ning Lay,. This Agreement shall be governed by, and
construed under, the laws of the State of New ,Jersey, all rights
and remedies being governed by said laws, without regard to
principles of conflict of law.

     15. Treatment for Tax Purposes. The Company shall be taxed as
the Members elect.

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       16. Amendmen.ts. This Agreement may not be modified, altered,
  supplemented or amended except pursuant to a written agreement
  executed and delivered by the Members.

        17, Indemnification of Indemnified Persons. To the fullest
  extent permitted by applicable law, in the event that a Member or
  Manager, or any of its direct or indirect partners, members,
  trustees,     directors,    officers,    shareholders,      employees,
  incorporators,    agents,    affiliates   or   controlling     persons
   (collectively, the "Indemnified Persons"; each, including the
  Member,   an "Indemnified Person"), becomes involved,          in any
  capacity,   in any threatened,      pending or completed action,
  proceeding or investigation, in connection with any matter arising
  out of or relating to the Company's business or affairs, the
  Company will periodically reimburse such Indemnified Person for its
  legal and other expenses (including the cost of any investigation
 and preparation) incurred in connection therewith, provided that
  such Indemnified Person shall promptly repay to the Company the
 amount of any such reimbursed expenses paid to such Indemnified
 Person if it shall ultimately be determined that such Indemnified
 Person is not entitled to be indemnified by the Company in
 connection with such action, proceeding or investigation as
 provided in the exception contained in the next succeeding
 sentence.    To the fullest extent permitted under the law of the
 State of New Jersey as the same exists or may hereafter be amended
  (but, in the case of any such amendment, only to the extent that
 such    amendment    permits   the   Company   to    provide    broader
 indemnification rights than said law permitted the Company to
 provide prior to such amendment), the Company also will indemnify
 and hold harmless each Indemnified Person against any losses,
 claims, damages, liabilities, obligations, penalties, actions,
 judgments, suits, proceedings, costs, expenses and disbursements of
any kind or nature whatsoever (collectively, "Costs"), to which
such Indemnified Person may become subject in connect.ion with any
matter arising out of or in connection witl1 the Company's business
or affairs, except to the extent tbat. any such Costs result solely
from the willful misfeasance, gross negligence or bad faith of such
Indemnified Person.       If for any reason (other than the willful
misfeasance, gross negligence, or bad faith of such Indemnified
Person) the foregoing indemnification is unavailable to such
Indemnified Person, oi: insufficient to hold it harmless, then the
Company shall contribute to the amount paid or payable by such
Indemnified Person as a result. of sucl1 Costs in sucl1 proportion as
is appropriate to reflect. not only the relative benefits received
by the Company on the one hand and such Indemnified Person on the
other hand but. also the relative fault of the Company and such
Indemnified     Person,    as   well   as   any   relevant     equitable
considerations.      Tl1e reimbursement, indemnity and contribution
obligations of the Company under this Sect.ion 1 7 shall be in

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 addition to any liability which the Company may otherwise have to
 any Indemnified Person and shall be binding upon and inure to the
 benefit   of   any  successors,   assigns,   heirs   and   personal
 representatives of the Company and any Indemnified Person. The
 reimbursement, indemnity and contribution obligations of the
 Company under this Section 17 shall be limited to the Company's
 assets, and no member or manager all have any personal liability on
 account thereof. Any amendment or repeal of this Section 17 shall
 net adversely affect any right or protection existing hereunder
 immediately prior to such amendment or repeal.       The foregoing
 provisions shall survive any termination of this Agreement.

     18. Exculpation.    Notwithstanding any other terms of this
Agreement, whether express or implied, or obligation or duty at. law
or in equity, no Indemnified Person shall be liable to the Company
or any member or manager for any act or omission (in relation to
the Company,    this Agreement,   any related document or any
transaction contemplated hereby or thereby) taken or omitted by an
Indemnified Person in the belief that such act or omission is in or
is not contrary to the best interests of the Company and is within
the scope of authority granted to such Indemnified Person by this
Agreement, provided that such act or omission does not constitute
willful misfeasance, gross negligence or bad faith of such
Indemnified Person.

     IN WITNESS WHEREOF, the undersigned, intending to be legally
bound hereby, have duly executed this Agreement as of the date
first above written.

WitNESS:                          MEMBERS:




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                  EXHIBIT I
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                                  ASSJGNMRNT OF MRMBltRSHIP IN'J'l<;J{EST

               FOR VALUE RECEIVED, I, STEVEN BRADLEY MELL, do hereby assign all

   of my right, title and interest in and to a 99% C:lnss B membership interest in AERO

   CARE SERVICES, LL.C., a Nc,w Jersey limited liability company, to KIMBERLY

   RUGGLES MELL, not individually but solely as trnstce of the STEVEN BRADLEY

   MELL 2012 FAMILY TRUST, dated                DJ.LC u1_l:L: 2012.   Said assignee shall take

   tile membership interest subject to all of the terms and conditions of the Operating

   Agreement for AERO CARE SERVICES, L.L.C., dMcd Januury l, 2003, as amended.




                                                             <~::~~-•-.-•
                                                    .          -~     ----·
                                                   ( STEVTiN'l1RADLEY MELL




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                 EXHIBITJ
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                         SOMERSET COUNTY AIRPORT AGRE~NT

      I, STEVEN BRADLEY MELL, of the Township of Bedminster,

County of Somerset and State of New Jersey, do hereby agree to

the following:

1. I will not to access or use any hangar or aircraft at the

  Somerset County Airport including but not limited to a 1981

  Beech King Air, Serial Number BB-1209, FAA Registration Number

  N126SP ("King Air") which is currently being stored in a

  hangar at the Somerset Airport.
                                                                   ..
2. AERO Care Services, LLC is a company held in trust which owns

  the King Air.

3. My wife, Kimberly Ruggles Mell, serves as the trustee of AERO

  Ca.re Se!'.:'viccs,   LLC.

4. Kimberly Ruggles Mell, through a letter dated May 25, 2018

  written by her attorney Cary Cheifetz, Esq. to Da~id E.

  Hernandez, US Pretrial Services Officer, had also represented

  that she will not consent to my use or access to any of the

  aircraft owned by AERO Care Services, LLC, including but not

  limited to the King Air.




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  5. I also request that lock(sJ to the hangar which stores the

    King Air be changed as requested by Evan Van Gilson.



                                                                     ~"7'1 l.,l.,
    IN WITNESS WHEREOF, I have hereunto set my hand and seal the~-,£_,,__+-_

    day of    be,·~ ,    2018.




                                            L. S.)

                                            STEVEN BRADLEY MELL

 Signed in the Presence of:

~::--[;~?A              ~ -
 ROBERT A. BIANCHI, ESQ.




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                EXHIBITK
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                             OPERATING AGREEMENT
                                      FOR
                                   WNFW,LLC
                     A OELA WARE LIMITED LIABILITY COMPANY


 THIS OPERATING AGREEMENT ("Agreement") is made and ,mtered into and effective as of
 October I, 2014 by Steven Bradley Mell ("Member") with reference to the following facts:

 On September 30, 2014, a Certificate of Formation ("Certificate of Formation") for WNF, LLC
 ("Company"), a limited liability company under the laws of the State of Delaware, was filed
 with the Delaware Secrctmy of State.

 On October 1, 2014, a Certificate of Amendment ("Certificate of Amendmcul'') changing the
 name of the Company from WNF, LLC to WNFW, !LC, was filed with I.he Delaware Secretary
 of Stntc.

 The initial Members, Steven Brnclley Mell and Kimberly Ruggles Mell, hereby adopt and
 approve this Operating Agreement for the Company.

 NOW, THEREFORE, the parties by this Agreement set forth the operating agreement for the
 Company upon the terms and conditions contained herein.

                                      ARTICLE 1
                               ORGANIZATIONAL MATTERS

         1.1 Formation of the Company. The Company has been formed pursuant to the
 provisions of the Delaware Limited Liability Company Act as set forth in Title 6 (commencing
 with Section 18- l 0 I) of the Delaware Code (the "Act") by filing the Certificate of Fonnation
 with the Secretary of State.

          l.2 Name. The name of the Company is WNFW, LLC per the Certificate of
 Amendment. The M.embers shall operate the Company under such name or, upon compliance
 with applicable laws, any other name that Members deems approprialc or advisable. The
 Company shall file any fictitio\lS name certificates and sirnilar filings, and any amendments
 thereto, that Members considers appropriate or advisable.

         1.3 Tenn, The term of the existence of the Company shall be perpetual, commencing
 on the date of the filing of the Certificate of 11onnation with the Delaware Secretary of State,
 unless the Company is terminated or dissolved sooner in accordance with I.he provisions of this
 Agreement.

         1.4 !1..!!~incss anti Purpose of the Company_,     The pmposc of the Company is to
 lease equipment and to engage in any lawful activity for which a limited liability company may
 be organized under the Act.
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         1,5 Principal Pince of Business. The Company's principal place of business shall be
 located at c/o Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE
 19808. The Company may locate its place or places of business and registered office at any
 other place or places as the Members may from time to time deem advisable.

         1.6 Resident Agent. The nnme and address of the Company's resident agent in the
 State of Delaware is as follows:

                                    c/o Corporation Service Company
                                    2711 Centreville Road, Suite 400
                                    Wilmington, Delaware I 9808

 The registered ollice and registered agent may be changed from time lo lime by filing the
 address of the new registcned office and/or the name of the new registered agent with the
 Secretary of State of the State of Delaware pursuant to the Act.

          1.7     Members and Membership Interests. The name, address and percentage
 ownership of the Members are as set forth on Schedule A atlached hereto and made a part hereof
 and his contribution on Schedule B. attached hereto and made a part hereof. "Members" shall be
 defined as each of the parties who executed a counterpart of this Agreement as a Member and
 each of the parties who may therca1ter become a Member. Additional Members may be admitted
 pursuant to this Agreement and the Act. If a person or entity is n Member immcdintely prior to the
 purchase or other acquisition by such person or entity of an economic interest, such person or
 entity shall have all of the rights of a Member with respect to such pmchasect or otherwise
 acquired Membership Interest, as the case may be. A "Membership lnt~,rcst" is a Member's
 entire interest in the Company, including such Member's economic interest and such other rights
 and privileges that the Member may enjoy by being a Member.


                                      ARTICLI~ 2
                         CAPITAL ACCOUNTS AND CONTRIBUTIONS

         2. l   Member's Capital Contributions. Not later than three days allcr execution of
 this Agreement, eac.h Member shall contribute its initial capital contribution as slated in 39.b.1e,!.t1.I.e.
 L\ hereto. Fach Member shall be required to make Additional Capital Contributions on a
 monthly or quarterly basis or as otherwise determined by the Company pursuant to this
 Agreement.

                 a.      Additional Contriliutions. From time to time and upon a two-thirds vote of
         the Members which are not in default or continue to be in default pursuant to this
         Agreement or any other agreement by and between any such Member and the Company
         (hereinafter "Member in Good Standing"), the M.embers in Good Standing may determine
         from time to time that additional capital contributions are needed to enable the Company to
         conduct its business and affairs. Upon making such a determination, notice thereof shall be
         given lo all Members in writing at least ninety (90) days prior to the date on which such
         additional contributions are needed. The notice shall describe in reasonable detail !he


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        purposes and uses of the additional capital, the amount of additional capital needed, the date
        by which the additional contribution is required and the proportion of contribution from
        each Member.

          2.2     Capital Accounts. A separate Capital Account shall be maintained for each
 Member. Each Member's Capital Account shall be increased by (1) the amount of money
 contributed by such Member to the Company; (2) the fair market value of property contributed
 by such Member to the Company (net of liabilities secured by such contributed property that the
 Company is considered to assume or take subject to under the Internal Revenue Code);
 (3) allocations to such Member of profits; and (4) any items in the natme of income and gain
 which are specially allocated to the Member pursuant hereto. Each Member's Capital Account
 shall be decreased by (I) the amount of money distributed to such Member by the Company:
 (2) the fair market value of property distributed to such Member by the Company (net of
 liabilities secured by such distributed property that such Member is considered to assume or take
 subject to under the Internal Revenue Code); (3) any items in the nature of deduction and loss
 that are specially allo.catcd to the Member pursuant hereto; and (4) allocations to such Member
 oflosses.

 Without limiting the other rights and duties of a transferee of a Membership Interest pursuant to
 this Agreement, in the event of a Permitted Transfer of a Membership lnterest in the Company,
 (1) the Capital Account of the transferor shall become the Capital Account of the transferee to
 the extent it relates to the trnnsferred .Membership Interest in accordance with the applicable
 Treasury Regulations; and (2) the transferee shall be treated as the transferor for purposes of
 alloca1ions and distributions pursuant hereto, to the extent that such ullocations and distributions
 relate to the transferred Membership Interest.

 Upon liquidation of the Company, liquidating distributions shall be made in accordance with the
 positive Capital Account balances of the Members, as determined after taking into account all
 Capital Account adjustments for the Company's taxable year during which the liquidation
 occurs. The Company may offset damages for breach of this Atireement by any Member or any
 agreement by and between any such Member and the Compmiy, whose Membership Interest is
 liquidated or Transferred (either upon the withdrawal of the Member or the liquidation of the
 Company) against the amount otherwise distributable to such Member. No Member shall have
 any obligation lo restore all or any portion of a deficit balance in such Member's Capital
 Account. A Member shall not receive a distribution of any part of its Capital Contribution to the
 extent such distribution would violate this Agreement.

          2.3 Distributions. Subject to applicable law, from time lo tirne and upon a two-thirds
 vote of'lhc Melllbers in Good Standing the Company may distribute "Available Cash Flow".
 "Available Cnsh Flow" means, with respect to any period, the sum of all cash receipts of the
 Company from any and all sources, less all cash disbmscments and a reasonable allowance for
 reserves, contingencies and anticipated obligations as determined by the Members in Good
 Standing.

         2.4 Retul'n of Distributions.       Except for distributions made in violation of the Act
 or this Agreement, the Members shall not be obligated to return any distribution to the Company


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 or pay the amount of any distribution for the account of the Company or to any crcditm of the
 Company. The amount of any distribution returned to the Company by the Members or paid by
 the Members for the account of the Company or to a creditor of the Company shall be added to
 the account or accounts from which it was subtracted when it was distributed to the Members.

         2.5     Allocations of Profits and Losses. The prnfits and losses for each fiscal year for
 operations related to the assets and properly of the Company and other Company matters shall be
 allocated to the Members in Good Standing prnpor(ionately in accordance with their
 Membership Interests.

         2.6      luforcst on nnd Return of Capital Contributions. No Member shall be entitled
 to interest on its C11pital Contribution or to return of its Capital Contribution, except as otherwise
 specifically provided for herein.

          2.7     Loans to Company, Nothing in !his Agreement shall prevent any Member from
 making secured or unsecured lom1s to the Company by agreement with the Company and the
 other Members. The amount of any such loan or advance shall not be treated as a contribution to
 the capital of the Company but shall be a debt due from the Company, payable in full, together with
 accrued interest, prior to any distribution thcreaf\er to any Member. All such loans or advances
 shall be repayable, pro rata, from net cash flow available from time to time and shall bear interest,
 until fully repaid, at a floating mte equal to five (5) percentage points in excess of the prime
 commercial lending rate in effect from time to time at the principal bank used by the Company for
 banking and borrowing purposes. In addition to the Member loans, the Company may borrow
 fonds pursuant to the terms and conditions of this Agreement from commercial lending institutions,
 individuals, private firms, corporations, or other entities on commercially reasonable terms.

         2.8    Tax Matters Partner. Steven Bradley Mell is hereby designated the Tax Matters
 Partner ("TMP") as defined in the Internal Revenue Code. The TMP shall not make any
 decision or take any action without the prior authorization of two-thirds of the Members in Good
 Standing.

       2.9     Optional IRC Elections. The Company has the right, but not the obligation, to
 make m1y applicable elections available under the Internal Revenue Code.

         2.10 Remedies for Non-Payment of Additional Capital Contributions nnd other
 defaults, If any Member or other equity owner (hercinaf\er, collectively "Equity Owner") fails to
 make foll and timely payment to the Company of any additional Capital Contribution properly
 assessed hereunder, or if any Member defaults on any loan and such loan utilizes any asset of the
 Company as collaternl ("Third l'arly Loan"), ,mch failure or default shall constitute a breach of
 this Agreement (and any such Equity Owner shall be hereinafter reforrcd to as a "Defaulting
 Equity Owner"). Upon such n broach and upon breach under any other agreement between
 Company and any Member, the Non-Defaulting Equity Owners shall promptly give notice (the
 "Default Notice") to all Equity Owners of: (a) the breach and (b) a special meeting to discuss the
 appropriate course of action. ln the event a Dcfaul!ing Equity Owner defaults on any Third Party
 Loan, such Defaulting Equity Owner shall be deemed to be a Member not in good standing
 hereunder as of the date of such default and the Non-Defaulting Equity Owners may utilize any
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 remedies provided under this Agreement without regard to the notice provisions contained in this
 Section 2.10 regarding remedies. The Equity Owners who timely satisfied their obligation to make
 the required Additional Capital Contributions and all other obligations under this Agreement and any
 other agreement by and between any such Member and the Company (the "Non-Defaulting E<Jtdty
 Owners") may, upon the affirmative vote of those Non-Defaulting Equity Owners which arc
 Members in Good Standing holding a majority of the Membership Interests owned by all Non-
 Defaulting Equity Ownern which arc Members in Good Standing, pursue the following courses of
 action:

                 a.     The Non"Defaulling Equity Owners shall have the option, but no obligation,
        to loan to the Company within sixty (60) days after the Default Notice is given (the "Loan
        Decision Period") the amount which the Defaulting Equity Owner(s) have Jailed to
        contribute to the Company (proportionate to the ratio of the Membership Jnterest held by
        each respective Member in Good Standing electing to loan funds, to the Membership
        Interests held by all Members in Good Standing electing to advance fonds). The amount
        that is loaned by any Non-Defaulting Member shall, at the election of each such Member in
        Good Standing (exercised by written notice to the Defaulting Equity Owner and the
        Company at the time the loan is made), be treated in either of the following manners:

                (!)     The loan may be treated us a loan to the Company bearing interest not less
                        than a floating rate equal to five (5) percentage points in excess of the prime
                        commercial lending rate in effect from time to time at the principal hank
                        used by the Company for banking and borrnwing pmposes, but not
                        exceeding the maximum rate allowable by applicable law (the "Default
                        Rate"), payable from any fonds paid by, or withheld by the Company from,
                        the Defaulting Equity Owner to cure the breach, or at such other time as the
                        Company and the lending Members in Good Standing may agree. Payments
                        shall be credited first to accrued interest. The promissory note or other loan
                        documentation shall contain such other terms and conditions as mutually
                        agreed by the Company and the lending Members in Good Standing.
                        Furthermore, the Non-Defaulting Member(s) may, but shall not be required
                        to, allow Non-Defaulting Equity Owner:; to participate in making such loans.

                (2)     The loan may be treated as a loan lo the Defaulting Equity Owner
                        (specifically secured by the Defaulting Equity Owner's interest in the
                        Company, which such secured interest may, at the option of the lending
                        party, be f\Jrthcr secured by recording a financing statement and/or as
                        otherwise reasoirnbly required by the lending party to secure such loan),
                        followed by a contribution c>f' the borrowed fonds to the Company by the
                        Defaulting Equity Owner curing the breach in whole or in part. Such a loan
                        shall be payable on demand and bear interest at 1he Default Rate. Until the
                        Defaulting Equity Owner's debt to any Non-Defaulting Equity Owners,
                        together with interest thereon, is paid in full, any funds or property which
                        would otherwise be distributed to the Defaul1ing Equity Owner from time to
                        time hereunder shall be paid 1o such Non-Defaulting Equity Owners,
                        according to their respective shares of'k>ans (which are treated as loans to the


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                     Defaulting Equity Owner). Any such payments shall be deemed to be
                     distributions to the Defaulting Equity Owner by the Comp,my, followed by
                     appropriate payments by the Defaulting Equity Owner lo the respective Non-
                     Defaulting Equity Owners. Payments shall be credited first lo accrued
                     interest. Payments to Non-Defaulting Equity Owners of loans by them
                     pursuant to either Article 2.1 O(a)(l) or 2.IO(a)(2) herein shnll be made pari
                     passu.

             b.      lf1he Non-Dcfoulting Equity Owners d(l not make loans pursuant to Article
      2.10 above in the amount at least equal lo the amount which the Defaulting Equity Owner
      failed to contribute (and the Defaulting Equity Owner has not cured said breach prior to the
      expiration of the Loan Decision Period), then promptly upon the expiration of the Loan
      Decision Period, the Non-Defaulting Equity Owners shall [~ive notice (the "l)efault
      Purehnse Option Notice" as more folly described below) to all of the .Members, The Non•
      Defaulling Equity Owners shall have the option (but no obligation) for the sixty (60) day
      period commencing upon the date of the Default Purchase Option Notice to purchase all, but
      not less than all, of a Defaulting Equity Owner's Interest as provided in this Article. The
      option granted in this Article (the "Default Purchase Optiou") shall be a Permitted
      Transfor and be exercisable in the following, manner and in accordance with the following
      terms:

             (I)     The Defoulting Purchase Option Notice shall notify the Non-.Ocfoulting
                     Equity Owners that they have the opportunity to purchase all, but not less
                     than all, of the Memlx,rship Interest owned by the Defaulting Equity Owner
                     ("Availnblc Membership Interest"). Similar to Article 2. !0(a)(l), the Non-
                     Defaulting Mcmber(s) may, but shall 1101 be required to, allow Non-
                     Defaulting Equity Owners to acquire a portion of such interest which, if
                     acquired by such non-Member, shall be an equity interest and not a
                     Membership Intcrcsl.

             (2)     A Non-Defaulting Equity Owner desiring lo exercise the Default Purchase
                     Option shall so notify (the "Exercise NoHcc") the Defaulting Equity Owner
                     and the Company within forty-five (45) days after the date that the Default
                     Purchase Option Notice is given.

             (3)     Each Non-Defaulting loquity Owner electing to exercise the Default
                     Purchase Option (each an "F,lccling Member" and collectively the
                     "Electing Members") shall be entitled to purchase a portion oflhc Available
                     Membership Interest proportionate to the ratio of the Membership Interest
                     held by each Electing Member l.o the Membership Interests held by all
                     Electing Members electing to exercise the Dcfaull Purchase Option.

              (4)    The closing for any purchase and sale of the Available Membership Interest
                     pursuant lo this Article shall take place within ninety (90) clays after the date
                     that the Default Purchase Option Notice is given. The specific time and
                     place of closing shall be as agreed by the Electing Members and the


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                      Defaulting Equity Owner; provided, however, that in the absence of
                      agreement, the closing shall take place at the Company's principal office at a
                      time reasonably s,:t by the Company.

              (5)     The price for the Defaulting Equity Owner's Ownership Interest (the
                      "Default Buyout Price") shall be equal to seventy five percent (75%) of the
                      value of the Available Membership Interest as of the last day of the month
                      preceding the month in which the Exercise Notice is given. For purposes of
                      this Article the value of the Available Membership Interest shall be
                      determined by a nrnjority of three (3) independent appraisers, two (2)
                      selected by the Electing Members and the third selected by the other two
                      (2) appraisers. Such determination shall be final for purposes of this
                      Agreement. Al.I costs of the appraisers and the appraisal prncess shall be
                      deducted from the De.foul! Buyout Price before the Default Buyout Price is
                      paid to the Defaulting Equity Owner.

              (6)    Upon any purchase of a Defaulting Equity Owner's Membership Interest
                     pursuant to this Article, the Default Buyout Price may he paid at closing in
                     immediately available i\Jncls, or, in the sole discretion of each Electing
                     Member, by delivering at closing a note issued by the Electing Member(s) as
                     payment for tl1c portion of the Buyout Price attributable to the portion of the
                     Membership Interest to be purchased by the Electing Equity Owner. The
                     notes issued as payment for the Default Buyout Price shall be negotiable
                     promissory notes of the Company or of the Electing Equity Owner, as
                     ,ippropriate, bearing interest per annum at a floating rate of one (l)
                     percentage point over the prime commercial lending ralc in effoct from lime
                     to time at the principal bank used by the Company for banking and
                     bol'!'owing purposes. Any such notes shall provide for paymenls of principal
                     and interest in equal consecutive quarterly installments over a period of not
                     more than five (5) years from the date of issuance of such note, commencing
                     from the date of issuance of such note, Any such notes shall be prcpayable
                     without penalty, in whole or in part, with prcpayrnents applkd to the last
                     instalhnent or installments coming due. Such notes shall pmvide tlmt if any
                     ins!allmenf of principal or interest is not paid when due or if' suit is bronght
                     thereon, !he nrnker will pay all costs of collection, including reasonable
                     attorneys' foes.

             (7)     After purchasing an Available Membership Interest, each EkGting Member
                     shall make an additional Capital Contribution to the Company in an amount
                     equal to the proportionate shmc of the rlcfoultccl capital contribution
                     attributable to the portion of the Available Membership Interest purchased
                     by the Electing Member.

               c.      If the Non-Defaulting Equity Owners do not make loans pursuant to Article
      2.10 above in the 11111ount at least equal to the amount which the Defaulting Equity Owner
      failed to contribute, or purchase all, but not less than all, of a Defaulting Equity Owner's


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         Interest pursuant to Article 2. IO above, then the Non-Defaulting Equity Owners may
         provide written notice to the Defaulting Equity Owners that the assets of the Company
         are to be sold and the Company dissolved pursuant to this Agreement. Each Member
         hereby acknowledges the reasonableness of the required sale and dissolution restrictions
         imposed by this Agreement in view of the Company purpose and the relationship of'the
         Members. Accordingly, the required sale and dissolution restrictions imposed by this
         Agreement shall be strictly enforceable.

                                 ARTICLE3
                    MANAGEMENT: RIGHTS, POWI,RS AND DlJTms

         3.1 Management. The company shall be managed by the Membcr(s) who may each
 act independently of each other when transncting the business of the Company. The Company
 shall have all of'the powers granted to a limited liability company as set forth in the Act, as
 amended from time to tillle.

                a.      Office1·s. The Members in Good Standing may from time to time, appoint
        one or more ofl1cers as they may deem advisable, bul need not appoint any oflicers. Any
        officer of the Co!llpany shall hold his or her office at the pleasure of the Members in
        Good Standing or for such other period as the Members in Good Standing may specify at
        the time of his or her appointment, or until his or her death, resignation or removal by the
        Members in Good Standing, whichever first occurs.

                b.      9ther Agents. The Members in Good Standing may also appoint in
        writing such other agents for the Company as they shall deem necessary or advisable,
        each of whom shall serve al the pleasure of the Members in Good Standing or tor such
        period as the Members in Good Standing nmy specify, and shall exercise such powers,
        have such titles and perform such duties as shall be determined from time to time by the
        Members in Good Standing or by an officer empowered by the Members in Good
        Standing to make such determinations.

         3 .2    Other Activities.       The Members, officers, and their affiliates may engage in
 or possess interests in other business ventures of every kind and dcsuiption for their own
 account, and in so doing shall incur no liabilily to the Company as a result of engaging in any
 other business or ventures or as a result of deriving income or profits therefrom. Neither the
 Members, officcrn, nor any of their affiliates shall be obligated to present any particular
 investment opportunity to the Company, even if the opponunity is of a clrnrncter which, if'
 presented to lhe Company, could be taken by the Company; ft1rlhcr, imy of the foregoing parties
 shall have !he right to take for their own account or to recommend to others any investment
 opportunity.

         3.3    No Required Meetings. The Members may, but shall not be required to hold any
 annual, periodic or other formal meetings. Meetings of' the Members may be called by any
 Member. The Member or Members calling the meeting may designate any place within the State
 of New Jersey as the place of meeting for any meeting oflhc Members. lfno designation is
 made the place of meeting shal.l be the principal executive office oft he Company. WriHen



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 notice stating the place, day and hour of the meeling and the purpose or purposes for which the
 meeting is called shall be delivered not less than ten ( I 0) nor more than fifly (50) days before the
 date of the meeting, either personally or by mail, by or at the direction of the Member or
 Members calling the meeting, to each Member. If Hll of the Members shall meet al any time and
 place, either within or outside of the State of New Jersey, and consent to the holding ofa meeting
 at such time and place, such meeting shall be valid without call or notice, and at such meeting
 lawful action may be taken.

         3.4      Quorum. Members in Good Standing holding al least two-thirds of the interests
 of the Company, represented in person or by proxy, shall constitute a quorum at any meeting of
 Members. In the absence of a quorum at any such meeting, a majority of the voting interests so
 represented may adjourn the meeting from time to time for a period not to exceed thirty (30)
 days without further notice. However, if the adjournment is for more than 1hirty (30) clays, or if
 after the adjournment a new record elate is fixed for the adjourned meeting, a notice of the
 adjourned meeting shall be given to each Member of record. At such adjourned meeting at
 which a quorum shall be present or represented, any business may be transacted which might
 have been transacted at !he meeting as originally noticed. The Members in Good Standing
 present at a duly organized meeting may continue to transact business until adjournment,
 notwithstanding the withdrawal during such meeting of that number of Members in Good
 Standing whose absence would cause less than a quorum.

         3.5      Action by Members Without a Meeting. Action required or permitted to be
 taken at a meeting of Members may be taken without a meeting if the action is evidenced by one
 or more written consents or approvals describing the action taken and signed by Members in
 Good Standing. Action taken under this Article is effective when all members sufficient to form
 Members in Good Standing have signed the consent or approval, unless the consent specifics a
 different effoctive date. The record date for determining Members in Good Standing entitled to
 take action without a meeting shall be the daw the first Member in Good Standing signs a written
 comcnt.

         3.6     Wuivcr of Notice. When any notice is required to be given to any Member, a
 waiver thereof in writing signed by the person entitled to such notice, whether before, at, or after
 the time stated therein, shall be equivalent to 1hc giving of such notice.

        3.7     Indemnification.

                 a. Indemnification of Members and Officers. The Company, its receiver or
        its trustee, shall indemnify and hold harmless the Members, officers, their affiliates,
        oniccrs, directors, employees, agents, shareholders, heirs, successors and assigns
        (hereinafter collectively referred to, for purposes of this Article, as the "lndemnitees"),
        jointly and severally, from and against any and all losses, claims, demands, costs,
        damages, liabili1ies, joint and several, expenses of nature (including reasonable aHorncys'
        fees and disbursements), judgments, fines, seHlements and other nmounts arising from
        any and all claims, demands, actions, suits or proceedings, whether civil, criminal,
        administrative or investigative, in which tho lndcmnilcc was involved or may be
        involved, or threatened to be involved, as a party or otherwise, arising out of the business


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         or operations of the Company, regardless of whether the lndemnitce continues to be a
         Member, officer, an an\liatc, or an officer, shareholder, director, employee, or agent of a
         Member at the time any such liability or expense is paid or incurred, to the fullest extent
         permitted by the Act and all other applicable laws. However, no indemnification shall
         be provided for any person with respect to any matter as to which he or she shall be
         adjudicated in any proceeding not to have ncted in good faith with the reasonable belief
         that his/her action was in the best interest of the Company.

                 b. Expenses.           An lndcmnitee, in defending any claim, demand, action,
         suit or proceeding subject to this Article shall, from time to time, be advanced funds by
         the Company to pay the reasonable expenses of such Jndcmnitec, prior to the final
         disposition of such claim, demand, action, suit or proccccling, upon receipt by the
         Company ofan undei-taking by or on behalf of the [ndcmnitcc to repay such amount ifit
         shall be determined that such person or entity is not entitled to be indemnified as
         authorized in this Article.

                 c. Indcmnifictttion Rights Non-Exclusive.               The indemnification provided
        by this Article shall be in addition lo (and not in lieu ot) any other rights to which those
        indemnified or otherwise, bo1h as to action in the lndemnitee's capacity as a Member,
        officer, as an affiliate or as an officer, director, employee, or agent, shareholders, heir,
        successor or assign of a Member and as to any action in another capacity, and shall
        continue as lo an Indcmnitec who has ceased to serve in such capacity and shall inure to
        the bcnelit of the heirs, successors, assigns and administrators of such Indemnitee,

                                         ARTICLE4
                              DI§§..QLUTION AND LIOlJIDATlON

          4.1    Dissolution. The Company shall dissolve and commence winding up upon the
 first to occur of any of the following events ("li:vcnts of Dissolution"):

                a.      The sale or other disposition (including, without limitation, taking by
        eminent domain, but ex.eluding any like"kind exchange) of substantially all the assets and
        property ofil1e Company unless such sale or other disposition involves any deferred
        payment of the considcrntion for such sale or disposition, in which case the Company
        shall not dissolve until the last day of the calendar year during which the Company shall
        receive the balance of such deferred payment;

                b.      The happening of any other even! that makes it unlawfol, impossible, or
        impractical to carry on 1he business of the Company or upon the ,mtry ofa decree of
        dissolution under the Act; or

                c.      The mutual agreement of the Members in Good Standing.

 The Members hereby agree that, notwithstanding any provision of the Act, the Company shall
 not dissolve prior to the occurrence ohm Event of Dissolution If' it is determined, by a court of
 competent jurisdiction, that the Company has dissolved prior to the occu,Tcncc of an Even! of



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 Dissolution, the Members hereby agree to continue the business of the Company without a
 winding up or liquidation.

          4.2     Winding Up. Upon the occurrence ofan Event of Dissolution, the Company
 shall continue solely for the purposes of winding up its affairs in an orderly manner, liquidating
 its assets, and satisfying the claims of its creditors and Members. No Member shall take any
 action that is inconsistent with, or not necessmy to or appropriate for, winding up the Company's
 business affairs. The Members in Good Standing shall be responsible for overseeing 1he winding
 up and liquidation of the Company and shall take foll account of the Company's liabilities and
 assets and property, and the assets and properly shall be liquidated as promp!ly as is consistent
 with obtaining the fair value thereof; and the proceeds therefrom, to the extent sufficient
 therefore, sha11 be applied and distributed in the following order:

                 a.     To the payment and disc.hmge of all of the Company's debts and liabilities
                        (other than those to the Members), including the establishment of any
                        necessary reserves;

                 b.     To the payment of any debts and liabilities to the Members;

                 c.     To the Members, in accordance with their positive Capital Account
                        balances; and

                 d.     Fina11y, to the Members in proportion with their respective Membership
                        Interest percentages in the Company.

        4.2.1 Rights of Members. Except as otherwise prnvidcd in this Agreement, each
 Member shall look solely to the assets of the Company for the return of its Capital Contribution
 and shall have no right or power to demand or receive property other than cash from the
 Company. Mcmlx,rs in Good Standing slrnll have priority over any Members not in good
 standing as 1o the return of his Capital Contributions, distributions or allocations, unless
 otherwise provided in this Agreement.

         4.2.2 Notice of Winding Up. If an Event of Dissolution occurs or an event occms that
 would result in a dissolution of the Company, the Members shall, within thirty (30) days
 thcreafler, prnvidc written notice to other parties with whom the Company regularly conducts
 business (as determined in the discretion of the Members) and shall file a written notice of
 winding up pursuant to the Act.


                                    ARTICLI<: 5
              LIMITED TRANSFli:RA.BILITY OF MW\1BERSHIP INTERESTS

        5.1      General. Except as otherwise specifically provided herein, no Member slrnll
 have the right to sell, assign, exchange or otherwise transfer (whether or not such transfer is for
 consideration), pledge, hypothecatc or grant a security interest in (collectively, "Trnusfcr") its
 Membership Interest without the written consent of two-thirds vote of the Members in Good
 Standing, which may not be unreasonably withheld and any consents required by any loans,


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  leases or other financing arrangements of the Company. Each Member hereby acknowledges the
  reasonableness of the restrictions on Transfer of Membership Interests imposed by this
  Agreement in view of the Company purpose and the relationship of the Members. Accordingly,
  the restrictions on Trnnsfors contained herein shall he strictly enforceable.

         5.2       Pel'mittcd Tnrnsfers. Subject to the conditions and restrictions set forth in this
  Agreement, provided no material default by Member has occurred and is continuing under this
  Agreement or any other agreement by and between such Member and the Company, a Member may
  Transfer all or any portion of its Membership Interest to one or more of the following (a
  "Pcm1ittcd Transfer"):
                 a.      Any other Member su\"jcct to Article 5.5 below, provided that such
                 Member is not in default or continues to be in defm1h pursuant to this Agreement
                 or any other agreement by and between such Member and the Company;
                 b.     Any affiliate nr family member of the trnnsferor;
                 c.     In the case of a transferor which is a trust or estate, any beneficiary of such
                        transferor trust or estate or any trust for the exclusive benefit of one or
                        more of the beneficiaries of the transferor trust or estate or of members of
                        any such beneficiary's spouse, natural or adoptive lineal ancestorn or
                        descendants, and trusts for his or their exclusive benefit; or
                 d.     Transfers of an interest pmsuant to Article 5.5 below.

 Subject to the conditions and restrictions set forth in this Agreement, provided no material default
 by Member has occurred and is continuing ,mder this Agreement, a Member may Transfer all or
 any portion of its Membership Interest to the following at any lime which shall also be a
 Permitted Transfer:

                 a.     The transfemr's executor, administrator, trustee, or personal representative
                        to whom such Membership Interest is transferred f1t death or involuntarily
                        by operation of law .

        .5.3   Conditions to Permitted Trnnsfcrs_, A Trnnsfor will not be treated as a
 Permitted Transfer under Article 5 unless and until the following conditions arc satisfied:

                 a.      Except in the case of a Transfer at death or involuntarily by operation of
                 law, the lransferor and transferee will execute and deliver to the Company such
                 documents and instruments of conveyance as may be necessary or appmpriatc in
                 the opinion of counsel to the Company to effect such Transfer and to confirm the
                 agreement of the transferee lo be bound by the provisions of this Article 5. In the
                 case of a Transfer at death or involuntarily by operation of law, the Trnnsfor will
                 be confirmed by presentation to the Company of legal evidence of such Transfer,
                 in form and substm1cc satisfactory to counsel to the Company. In all cases, the
                 Company will be rcimbmsed by the transferor and/or transferee for all costs mid
                 expenses that it reasonably incurs in connection with such Trnnsfor, including any
                 and all accounting and other expenses incurred as a result of adjustments to basis



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            of the Company's assets pursuant to the Internal Revenue Code. A two-thirds vole
            of the Members in Good Standing may waive this condition in their discretion.

            b.      Except in the case of a Transfer at death or involuntarily by operation of
            law, the transferor will furnish to the Company an opinion of counsel, which
            counsel and opinion will be satisfactory to the Company, that the Transfer will not
            cause the Company to terminate for federal income tax pmposes and that such
            Transfer will not cause the application of the rules of the Internal Revenue Code
            generally referred to as the "tax exempt entity leasing rules" or similar rules to
            apply to the Company, the property of the Company, or the Members. A two-
            thirds vote of the Members in Good Standing may waive this condition in their
            discretion.
            c.      The transferor and transferee will furnish the Company with the
            transferee's taxpayer idcn1ification number, sufficient. information lo determine
            the trnnsf-eree's initial tax basis in the Membership Interest transferred, and any
            other information reasonably necessary lo permit the Company to file all required
            federal and state tax returns and other legally required information statements or
            returns. Without limiting the generality of the foregoing, the Company is not
            required to make any distribution otherwise provided for in this Agreement with
            respect to any transferred Membership Interest until it !ms received such
            information.
            d.      Except in the case of a Transfer at death or involuntarily by operation of
            law, either such Membership Interest will be registered under the Securities Act
            of 1933, as amended, and any applicable state securities laws, or the transferor
            will provide an opinion of counsel, which opinion and counsel will be satisfactory
            to the Company, to the c.ffect that such Transfer is exempt from all applicable
            registration requirements and that such Transfer will not violate any applicable
            laws regulating the Transfer of securities. A two-thirds vote of the Members in
            Good Standing may wnive this condition in their discretion.

            e.      In order to effectuate any Pcrmit1ed 'J'rnnsfor of a Membership Interest, the
            transferring Member shall require any such assignee or transforor lo accept and
            assume in writing all of the applicable terms of this Agreement and any other
            applicable agrec111cnts by and between the transferring Member and the Company
            and the assigning Member shall send such acceptance and assumption, together
            with a written notice of the 'J'ransfor lo all Members, promp(ly af\cr
            consummation of the same. The remaining Members may, but shall not be
            obligated to join with the assigning Member and any such assignee in the
            execution of am.cndment to this Agree111cnt admitting such assignee as a Member
            and, if only a portion of this assigning Member's Membership Interest is being
            assigned, modifying such terms hereof as are reasonably necessary to allocated,
            between the assigning Member and such assignee, such of the assigning
            Me.mber's rights and obligations hereunder as the assigning Member wishes to
            allocate.



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              f.      Such transfer must be acceptable to two-thirds of the Members in Good
              Standing in terms of such transferee's creditworthiness, geographic location of
              flight patterns and any other factors the Members in Good Standing reasonably
              determine to be applicable; (ii) such transferee must be a citizen of the United
              States (as defined in 49 U.S.C. Section 40102(15), as amended) or otherwise
              eligible to register aircraft with the FAA pursuant to Part 47 of the Federal
              Aviation Regulations; and (iii) such transferee must execute all other documents
              relating to the assets and property of the Company necessary to reflect such
              transferee's Membership Interest, the management of the assets and property of
              the Company and the transferee's participation in this Agreement in order for a
              Transfer to be treated as a Permitlcd Transfer under Article 5. No such trnnsfor
              will operate to relieve a Member of any liabilities accrued prior to such transfer.

       5.4    Prohibited Transfers.
              a.       Any purported Transfer of a Membership Interest that is not a Permitted
              Transfor will be null and void and of no force or effect whatever; provided that, if
              the Company is required to recognize a Transfer that is not a Permitted Transfer,
              the Membership [nteres( Transferred will be strictly limited to the transferor's
              rights to allocations and distributions as provided by this Agreement with respect
              to the transferred Membership Interest, which alloca1ions and distributions may
              be applied (without limiting any other legal or equitable rights of the Company) to
              satisfy any debts, obligations, or liabilities for damages that the trnnsforor or
              tnmsfe1·ee of such Membership Interest may have to the Company.
              b.      ln the case ofa Transfer or attempted Trnnsfor oflnterests that is not a
              Permitted Transfer, the parties engaging or attempting lo engage in such Transfer
              hereby agrees lo indemnify and hold harmless the Company and the other
              Members from all cost, liability, and danmgc that any of such indemnified persons
              may incm (including, without limitation, inereme11tal tax liability and legal fees
              and expenses) as a resuli ofsneh Transfer or attempted Transfer and efforts to
              enforce the indemnity granted hereby. This indemnification shall survive the
              expiration or termination of this Agreement.

       .5.S   .Bight of First Refusal

              a.      If; a Member ("Selling Member") enters into an agreement with any
              person or entity pursuant to which any portion of such Member's Interest is to be
              assigned, purchased or otherwise Transforred ("Offered lnten,st"), and such
              proposed Transfor would result in the Selling Member Transferring lo any one or
              more parties any portion of the Offered Interest, the Selling Member shall send to
              each of the other Members written notification ("Notice of Trnnsfcr") of the
              Selling Member's intention to so Transfer such Offered lntcrest. Such Notice of
              Transfer shall include, but not be limited to, identification of (he purchaser
              ("Purchasing Party"), a copy of' such agreement rcilccting Ibis right of first
              refusal, a statement of any and all consideration being paid in connection with
              such Offered Interest, the designated time, date and place of closing ("Transfer
              Closing"), a statement that the Selling Member's reasonable opinion the

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            Purchasing Party complies with Article 5,3(!) herein and all other material terms
            of the proposed trnnsfor, Such Notice ofTrnnsfor shall be given to each of the
            Members al least sixty (60) business days prior lo the Trm1sfer Closing. After
            receipt of the Notice of Transfer, the other Members shall have the right,
            exercisable by written notice within thirty (30) business days ufter receipt of the
            Notice of Transfer and after receipt of all consents required by any loans, leases
            or other financing arrangements of the Company and the Selling Member, to
            purchase the Offered Interest to be Trnnsforred on the same terms and conditions
            set forth in Notice of Transfer or on such other conditions as may be agreed,upon
            by the Seller Member and the other Members; provided, however (i) if more than
            one Membor timely exercises such right of first refusal, the Members that have so
            exercised such right shall be entitled to purchase the Offered Interest as of the
            date of the proposed Transfer in proportion lo their current Membership Interest at
            the time of the Notice of Trnnsfer unless otherwise agreed, and (ii) if there is any
            non .. eash consideration to be given by the Purchasing Party in connection with the
            Offered Interest, the Member or Members that timely exercise such right of first
            refusal shall pay the Selling Member, in lieu of such non.. cash consideration, an
            amount equal lo the fair market value of such non-cash consideration.

            b.       Ifno Member(s) elect to purchase the Offered Interest pursuant to Article
            5.5 herein, a 1111\jority of the remaining Members may either accept or reasonably
            reject the proposed Transfer of the Offered Jnterest to the Purchasing Party, Such
            acceptance or rejection shall be given to the Selling Member and all other
            Members in writing with any such rejcc!ion stating the reason(s) for such
            rejection. In !he event a majority of !he remaining Members do not reject in
            wiring to Purchasing Party's purchase of the Offered Interest within forty-five
            (45) days from receipt of the Notice of Transfer, then the Purchasing Pmty will be
            deemed acceptable to the remaining Members, In the event a majority of the
            remaining Members reject the Purchasing Par!y, Selling Member shall then
            provide wri!tcn notice ("Election Notice") to the remaining Members that: (i)
            Seller Member will withdraw the Offered Interest from Transfer; or (ii) the assets
            of !he Company are lo be sold and the Company dissolved pursuant to this
            Agreement.

            c.       Any and all costs and expenses related to the Transfer of an Offered
            [n!cres! hereunder including but not limited to appraisal fees, inspections, license,
            filing, rcgis!ration, or o!her fees and delivery of any assets of the Company shall
            be ,it the sole cost and cxpc1rne of the Selling Member except if the assets of the
            Company are to be sold and the Company dissolved.

            d.      If the assets of !he Company are to be sold and the Company dissolved
            pursuant to (his Agreement, and, if all Members in Good Standing arc unable to
            agree within forty-five (45) days of the dale of the Election Notice on a purchase
            price and terms for sak of'thc assets of the Company, then aHcr !he 45 th day any
            and all aircraft and all other property, real, personal, tangible or intangible or
            otherwise owned by the Company shall be placed for sale in the open market in


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                 the usual and customary manner for the value as determined in Article 5.6 below
                 and upon their salt\ the Company subsequently dissolved. If a buyer for any and
                 all aircrnft owned by the Company has nol executed a letter of intent, purchase
                 agreement, or other binding agreement for the sale and pure.base of all aircraf\
                 owned by the Company for the Offered Interest Value within sixty (60) days of
                 placing the aircraft and other property for sale in the open market, the value shall
                 be reduced by 5% every sixty (60) days thereafter until a buyer has executed a
                 letter of intent, purchase agrcemmt, or other binding agreement for the sale and
                 purchase of all aircraft owned by the Company for such revised value or until all
                 1he Members in Good Standing reach agreement on the sales price.

                 e.     Any such Transfers pursuant to Article 5.5 herein shall be a Permitted
                 Trnnsfor.

         5.6     Di~tributions and Applications in Rcsped to Tmnsfcrred Interest.~. Jfany
 Membership Interest is Transferred during any fiscal year in compliance with the provisions of
 Article 5, profits, losses, and all other items attributable to the Transfoncd Membership lnterest
 for such fiscal year will be divided and allocated between the transferor and the transferee by
 taking into account their varying Membership Interests during such fiscal year in accmdance
 with the lntcrnal Revenue Code, using any conventions permitted by law and selected by the
 Company. All distributions made on or before the date of such Transfer will be made to the
 transferor, and all distributions after the d<ite of Transfor will be made to the transferee. Solely
 for purposes of making such allocations and distributions, the Company will recognize a
 Transfer at the end of the calendar month during which the Transfer occurred. Neither the
 Company nor the Member will incur any liability for making allocations and distributions in
 aecordancc with the provisions of this Article 5.7, regardless ofactual knowledge of any
 Transfer of ownership of any Membership lnterest.

          5.7     Additional Conditions to Recognition ofTrnnsfcrcc. !fa Selling Member
 sells a Membership Interest to a person or entity who is not already a Member, as a condition lo
 recognizing the effectiveness and binding nature of such sale, the remaining Members may
 require the Selling Member and the proposed successor-in-interest to execute, acknowledge and
 deliver to the Company s1tch instruments oftrnnsfor, assignment and assumption and such other
 certificates, representations and documents, and lo perform all such other acts which the
 Company may deem reasonably necessary or desirable to accomplish any one or more of the
 following: (i) confirm that the proposed successor-in-interest has accepted, assumed and agreed
 lo be subject and bound by all oftbc terms, obligations and conditions of this Agreement, as the
 same may have been further amended; (ii) preserve the Company after lhe complctioo of such
 sale, under the laws of each jurisdiction in which the Company is qualified, organized or does
 business; (iii) nrnintain the current status of the Company for federal tax purposes; and
 (iv) assure compliance with any applicable state and fodernl laws, including secmities laws and
 regulations. Any Transfer of a Membership Interest and aclrnis:ion of a Member performed in
 compliance herewith shall be deemed effoctive as of lhe last day of the calendar month in which
 the remaining Members' consent thereto was given. The Selling Member hereby indemnifies the
 Company and the remaining Members against any and all loss, damage, or expense (including,
 without limitation, tax liabilities or loss of tax benefits) arising directly or indirectly as a resull of


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  any Transfer or purported Transfer in violation of this Agreement or any loans, leases or other
  financing arrangements of the Company.

         5.8     Additional Members. After the formation of the Company, any person upon the
 unanimous written consent of the Members in Good Standing may become a Member of the
 Company for such consideration as the Members in Goocl Standing shall determine, provided
 that such additional Member complies with all the requirements of a transferee under this
 Agreement. No such Member shall be entitled to nny retroactive allocation of losses, income or
 expense deductions incurred by the Company.


                                    ARTICLE 6
                       DEATH OR INCAPACITATION Oli' A MEMBli'.R

          6.1     Death oi· Incapacitation of' a Membei:, The bankruptcy, death, incapacitation
 dissolution, liquidation, termination or adjudication ofincompclcncy ofa Member shall not cause
 the termination or dissolution of the Company and the business of the Company shall continue.
 Upon any such occurrence, the trnstee, receiver, executor, administrator, committee, guardian or
 conservator of such Member shall have all the rights of such Member for lhc purpose of settling or
 managing its estate or property, subject to satisfying conditions precedent to the admission of such
 assignee as a substitute Member. The transfer by such trustee, receiver, executor, administrator,
 commil!cc, guardian or conservator of any Membership Interest shall be sul1ject to all of the
 restrictions, hereunder to which such lrnnsfor would have been subject if such transfer had been
 made by such bankrupt, deceased, dissolved, liquidated, terminated or incompetent Member. The
 foref,oing shall apply to the extent permit!ed by applicable law.

          Upon the bankruptcy, death, incapacitation dissolution, liquidation, termination or
 adjudication of incompetency ofa Member, the trustee, receiver, executor, administrator,
 committee, guardian or conservator of such Member shall offer to the other remaining Members
 Membership Interest for purchase pursuant to the procedmcs of Article 5.5(a) herein. The Members
 agree that in such an event, the consideration for such Membership Interest shall be cash only and
 the value of(he M(:mbcrship lntcrcst shall be determined by mutual agreement of'the Members in
 Good Standing and the trnstec, receiver, executor, administrator, comrnillee, guardian or conserva-
 tor of the Member and ifno agreement is reached within thirty (30) days, a majority of three (3)
 independent appraisers, one (I) selected by the Members in Good S1anding, one (1) sc.lccted by
 the trustee, receiver, executor, administrator, committee, guardian or conservator of such Member
 and the 1hird selected by the other lwo (2) appraisers. Snch determination shall be final for
 purposes of this Agreement. All costs of the appraisers and the appraisal process shall be
 ded11cled from the price paid for the Membership Interest hefon, st1ch price is paid to the trustee,
 receiver, executor, administrator, eomrnit!ec, guardian or conservator of such Member.

 For purposes of this Article, a Mc111ber (if an individual) shall be considered incapacitated if the
 Member's attending physician and one olhcr licensed medical physicinn certifies in writing on a
 dale later than the date of this Agreement, !hat the Member is physically or mentally incapable of
 managing the Member's everyday business affairs. The Me111bcr's, whose signatt1res appear below,



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  authorizes the exmnining physicians for this purp\1se to disclose the physical and mental condition
  to the officcrn and Members for purposes of this Article.

                                         ARTICLE7
                                MISCRI,LANEOUS PROVISIONS

         7.1     Maintenance of Books and Records.         The Members shall cause complete
  and accurate books and records of the Company to be maintained in accordance with the Act.

          7.2    Sevcrnbility. In the event any provision or any sentence within any Section is
  declared by a court of competent jurisdiction to be void or unenforceable such provision or
  sentence shall be deemed severed from the remainder of this Agreement and the balance of this
  Agreement shall remain in full f'<,rcc and effoct.

          7.3     Article and Section Hcndh!,g&          The captions of the Articles and Sections in
  this Agreement are for convenience only and in no way define, limit, extend or describe the
  scope or intent of any of the provisions hereof; shall not be deemed part of this Agreement and
  shall not be used in construing or interpreting this Agreement.

          7.4    Governing Law.        This Agreement shall be constrned according to the laws of
  the State of Delaware, without reference to its principles of conflict of laws.

          7.5    Pronouns and Plurnls.         Whenever the context may require, any pronoun
  used in this Agreement shall include the concsponding masculine, feminine and neuter forms,
  and the singular form of nouns, pronouns and verbs shall include the plural and vice versa.

         7.6     No Third Party Beneficiaries.           There are no third party beneficiaries of this
 Agreement.

         7.7      Notices. Any notice, demand, or communication required or pcrmilled lo be
 given by rmy provision of this Agreement shall be deemed to have been sufficiently given or
 served if sent by tclccopy or facsimile transmission, delivered by messenger or overnight courier,
 or mailed, certified first class nrnil, postage prepaid, return receipt requested, and addressed or
 sent to the Mcmb(,r's address, as sci fcn'lh on Schedule A, from time lo time. Such notice shall
 be effective: (a) if delivered by messenger or by overnight courier, upon actual receipt; (b) if sent
 by telccopy or facsimile transmission, upon confirmation of receipt; or (c) if mailed, upon the
 earlier of three (3) business days after deposit in the mail and the delivery as shown by return
 receipt therefor. Any Member may change its address by giving notice in writing to the
 Company and the other Members of its new address.

         7.8   Anrnndmcnts. This Agreement may be amended only with the written agreement
 of' the Members in Good Standing.

        7.9     l•:xecution of Additional Instruments. Each Member hereby agrees lo execute
 such other and forlher statements of interest and holdings., designations and other instruments
 necessary lo comply with any laws, rnles or regulations.


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           7.10 :Waivers. The failure of any party to seek redress for violation of or to insist upon
  the strict performance of any covenant or condition of this Agreement shall not prevent a
  subsequent act, which would have originally constituted a violation, from having the effect of an
  original violation.

          7.11 Rights and Remedies Cumulative. The rights and remedies provided by this
  Agreement are cumulative and the use of any one l'ight or remedy by any party shall not preclude
  or waive the right to use any or all other remedies. Said rights and remedies arc given in addition
  lo any other rights the parties may have by law, statute, ordimmce or otherwise.

          7.12 Attorneys' Fees. Should the Company or any party to this Agreement reasonably
  retain counsel for the purpose of enforcing or preventing breach of any provision of this
  Agrce1m,nt, including but not limited to instituting any action or proceeding to enforce any
  provision of this Agreem<,nt, for damages by reason of any alleged breach of any provision of
  this Agreement, for a declaration of such party's rights or obliga1ions under this Agreement or
  for any other judicial remedy, then, if the matter settled by judicial determination or arbitrntion,
  the prevailing party (whether at trial, 011 appeal, or arbitration) shall be entitled, in addition to
  such other relief as may be granted, to be reimbursed by the losing party for all costs and
  expenses incurred, including, but not limited to, reasonable attorneys' foes and costs for services
  rendered to the prevailing party.

          7.13     Heirs, Successors and Assigns. Each and all of the covenants, terms, provisions
  and agreements herein contained shall be binding upon and inure lo the benefit of the parties
  hereto and, to the extent permitted by this Agreement, their respective heirs, legal
  representatives, successors and assigns.

          7.14 Counterparts. This Agreement may be executed in counterparts, each of which
  shall be deemed an original but all of which shall constitute one und the same instrument.

         7.15 No Investment Representations. 'lTm INTERESTS DESCRIBED AND
  RU:PIU'.SENTED BY THIS LIMITEI> LIABILITY COMPANY AGREEMENT HAVE
  NOT BEEN REGISTERED UNDER TlII~ SECURITIES ACT OF 1933 (THE
  "SI•'.CUR!Tms ACT" OR ANY APPLICABJ,J,; STATE SEClJRITJ vs LA ws ("S'fATll,
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  RULE 144 UN!HtR THE SECURITrn:s ACT. Tlrn SJ•:ClJIUTmS MAY NOT BR
  Ol?FERKD FOR SALE, SOLD, OR OTHERWISR TRANSFERRED EXCEPT
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  QUALIFICATION lJNDIW. TH.E SECURITIES ACT AND APPLICABLE STAT!.; ACTS
  OR PURSUANT TO AN EXl<:MPTION JlROM RKGJSTRATION UNDER Tlm
  SRC\JRITIES ACT ANJ) APPLlCABLI•: STATE ACTS, nm AVAILABILITY OF
  WHICH IS TO BE ESTABLISHRD TO THE SATISFACTION OF Tim COMPANY.

                                      (Signature Page to Follow)




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          IN WITNESS WHEREOF, the initial Member has executed this Agreement to be
  effective as of the date first written above.


  MEMBJi:I~-·---· . .        \            MEMBlcR:                      ,.
  n/f:~.~~:~~(-~c:::~::,, /
       Steven Bradley Mell
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                                          By: ..........
                                                     Kimberly Ruggl,Mell




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  Schedufo A
  Members

  Name                        Address Phone, Fax         Percentage Interest

  I. Steven Bradley Mell      450 Springfield Ave.       99.00%
                              Summit NJ 07901
                              Phone: 908-277-3441


  2. Kimberly Ruggles Mell    450 Springfield Ave.       1.00%
                              Summit NJ 07901
                              Phone: 908-277 .. 3441




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 SchedulcB
  Initial Cariital Contrilrntion~

  Name                                          lnitinl Capital Contribution

  1. Steven Bradley Mell                        '•·'),,
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 2. Kimberly Ruggles Mell                       $)1.1     l;Y,:bo




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                                         Creative Solutions
                                             Investigative Services



CASE NAME:                U.S. Vs. Steven B. Mell

INVESTIGATOR:              Daniel Coleman

REPORT OF:                 Interview and of Alan Fournier

                           May 22, 2018

May 21, 2018, Monday
2:10 PM
            -As requested by the Bianchi Law Group, the undersigned investigator conducted an
            interview of Alan Fournier, 11 Hollowbrook Road, Far Hills, NJ (908)313-0119. The
            interview was conducted at 450 Springfield Avenue, Summit, NJ. Mr. Fournier is an
            acquaintance and colleague of Steven Bradley Mell. Mr. Fournier was listed a
            character reference on an application that Mr. Mell made to the Bedminster Police
            Department for an "Application for Firearms Purchaser Identification Card and/or
            Handgun Purchase Permit." Mr. Fournier stated that he had a conversation (via text)
            with Mr. Mell regarding coyotes on his (Mr. Mell's) property, and his concerns that
            they could harm or kill his dog "Zucc", and his need to purchase a firearm due to this
            threat.

            Mr. Fournier showed me his cell phone and the text message exchange he had with
            Mr. Mell. (Images of the text message conversation are at the bottom of this report.)
            The conversation began on Sunday, April 29, 2018 at 7:59 PM, when they were
            scheduled to get together, and Mr. Mell reported that he was delayed because he
            (Mr. Mell), "Was chasing Zucc from coyotes." Their text conversation resumed on
            Monday, May 7, 2018 at 5:35 PM when Mr. Mell asked Mr. Fournier, "Hey I hope it
            is ok I put you down as a reference for my firearms ID card. I have some coyotes I
            need to deal with." Mr. Fournier inquires, "When are they around?" Mr. Mell
            responds, "A lot these days. Scaring me actually" Their text conversation resumed
            on Tuesday, May 8, 2018 at 5:16 PM. Mr. Mell writes, "Hey try to return the firearms
            referral when you get it if you don't mind. They say that is usually what holds things
            up. There are 2 coyotes that are hanging around and I think they think Zucc is one of
            them."

            Mr. Fournier showed me his address book entry for "Brad Mell" (see image below).

            2:25 PM, the interview was concluded



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                                         Creative Solutions
                                             Investigative Services




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                                             Investigative Services




Daniel Coleman
Owner, Creative Solutions Investigative Services




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                                          Creative Solutions
                                              Investigative Services


 CASE NAME:                 U.S. Vs. Steven B. Mell

 INVESTIGATOR:              Daniel Coleman

 REPORT OF:                 Interview and of Diane Frederick

                            May 22, 2018


May 21, 2018, Monday
2:30 PM
             -As requested by the Bianchi Law Group, the undersigned investigator conducted an
             interview of Diane Frederick (908) 347-0445. The interview was conducted at 450
             Springfield Avenue, Summit, NJ. Ms. Frederick is the Operations Manager at WH
             Mell, 450 Springfield Avenue, Summit, NJ. Ms. Frederick reported that she had a
             conversation with Steven Bradley Mell regarding coyotes on his property. Ms.
             Frederick stated that the conversation took place the first week in May, 2018,
             possibly Tuesday, May 1, 2018 or Wednesday May 2, 2018. Ms. Frederick stated
             that the day the conversation took place, Mr. Mell called her into his office to
             discuss an incident that occurred on his property involving coyotes and his dog. She
             explained that they often discussed dogs, as Mr. Mell and Ms. Frederick both have
             two dogs each. She stated that Mr. Mell has a husky breed puppy named "Zuek,"
             who is approximately 9 months to one year old, and another smaller breed dog. Ms.
             Frederick described the incident that Mr. Mell reported to her involving the coyotes
             and his dog. Mr. Mell stated that he was preparing to go to a dinner and was getting
             out of the shower when he looked out the window. Outside, he saw his dog Zuek
             sitting on the edge of the property. He was looking up at two coyotes, on a ridge on
             the outskirts of the property. Mr. Mell immediately got dressed, ran to the barn,
             grabbed a machete and chased the coyotes away. Ms. Frederick stated that there is
             no fence surrounding Mr. Mell's property and he was concerned about the coyotes
             killing his dogs.


             2:50 PM, the interview was concluded




Daniel Coleman
Owner, Creative Solutions Investigative Services



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                                         Creative Solutions
                                            Investigative Services



CASE NAME:                U.S. Vs. Steven B. Mell

INVESTIGATOR:             Daniel Coleman

REPORT OF:                Investigation at Bedminster Police Department

                          May 23, 2018


May 22, 2018, Tuesday
1:20 PM
            -As requested by the Bianchi Law Group, the undersigned investigator responded to
            the Bedminster Police Department, 55 Miller Lane, Bedminster, NJ, to investigate
            the circumstances around Steven Bradley Mell's submission of an "Application for
            Firearms Purchaser Identification Card and/or Handgun Purchase Permit." Mr. Mell
            reported that he presented the application to the female clerk at the Bedminster
            Police Department.


            Inside the Bedminster Police Department, there was a female clerk visible through a
            glass partition. I spoke to her and attempted to clarify details surrounding Mr. Mell's
            submission of his application. The unidentified female stated that she could not
            discuss the matter with me and exited her area to speak to a supervisor. I was
            greeted by the Bedminster Township Chief of Police, Karl Rock. Chief Rock stated he
            was not going to permit the clerk to speak to me, and he preferred to be the point of
            contact for this matter. He proceeded to speak to me about Mr. Mell, his application
            for a replacement Firearms ID card and the coyote problem in Bedminster Township.


            Chief Rock confirmed that Mr. Mell submitted an application for a "Lost or Stolen ID
            Card." He did not know who took Mr. Mell's application, but stated it could have
            been anyone at the police department, depending upon when he submitted the
            application. Chief Rock confirmed that it is common practice to advise applicants to
            submit multiple Applications to Purchase a Handgun, even if they are not going to
            use them. He stated, "It's more convenient. You can get up to six in one ask.
            Ultimately a lot of people just get them and never purchase anything."


           I spoke to Chief Rock about Mr. Mel l's assertion that he needed to purchase a long
           gun due to seeing coyote on his property. Chief Rock stated, "It's Bedminster" and
           that it was "coyote season." He further stated "with the amount of property he has,

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                                         Creative Solutions
                                            Investigative Services



            he probably could make application to fish and game to shoot wildlife on his
            property."


            Chief Rock did not know Mr. Mell and did not know about the investigation or arrest
            until the day Mr. Mell was arrested.


            1:35 PM, the interview was concluded




Daniel Coleman
Owner, Creative Solutions Investigative Services




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                                                           AGREEMENT
                                                             between
                                                        S. BRADLEY MELL
                                                               and
                                                       GULFSTREAM CM, LLC
                                                                   and
                                                       GULFSTREAM GP, LLC

                                   This AGREEMENT, dated as of April 6, 2018, is entered into betweens. Bradley
                 Mell ("M/fil!") and Gulfstream CM, LLC, a Delaware limited liability company ("GCM"), and
                 Gulfstream GP, LLC, a Delaware limited liability company ("GGP" and collectively with GCM, the
                 "Gulfstream Entities").

                                 WHEREAS, the parties wish to set forth their understanding regarding matters In
                 connection with Mell's limited liability company interests in the Gulfstream Enttties;

                               WHEREAS, this Agreement will serve to effectively amend the Operating
                 Agreement of GCM, dated as of April 1, 2011 (the "GCM Agreement") and the Operating
                 Agreement of GGP, dated as of April 1, 2011 (the "GGP Agreement" and collectively with the
                 GCM Agreement, the "Operating Agreements");

                                 NOW, THEREFORE, in consideration of the mutual promises and covenants
                 herein, and for other good and valuable consideration, the receipt and sufficiency of which are
                 hereby acknowledged, the parties agree as follows:

                                                               ARTICLE I

                                                            WITHDRAWAL

                                  Section 1.01    Withdrawal. The parties agree that, effective March 31, 2018
                 (the "Departure Date"), Mell shall be withdrawn as a Member in GCM and GGP, and therealler,
                 except as espressly set forth in this Agreement, shall have no membership, employment, voting,
                 economic or other rights or interests in the Gulfstream Entities. The Gulfstream Entities hereby
                 waive the sixty (60) day Notice Period set forth in Section 11 (a) of the Operating Agreements and
                 accept Mell's withdrawal as of the Departure Date.

                                                               ARTICLE II

                                                      SHARE OF NET PROFITS

                                  Section 2.01.    !',!&PrgfitsJor 2D1 fl.

                                           (a) GCM. For calendar year 2018, Mell shall receive cash payments
                 within (60) days after the end of such calendar year equal to (i) for the period beginning January
                 1, 2018 and ending March 31, 2018 (A) forty percent (40%) of the net profits of GCM attributable
                 to any private fund client (excluding Fund Net Proflts); (B) thirty-three and one-thirds percent (33
                 1/3%) of the net profits of GCM attributable to any client other than a private fund client; (C) forty
                 percent (40%) of the net profits of GCM not allocated pursuant ta (a)(i)(A) and (a)(i)(B) (including
                 Net Sales Proceeds, but excluding Fund Net Profits), and (ii) for the period beginning April 1,
                 2018 and ending December 31, 2018 (A) twenty-four and nine-tenths percent (24.9%) of the net
                 profits of GCM attributable to any private fund client (excluding Fund Net Profits); (B) twenty and
                 three-fourths percent (20 3/4%) of the net profits of GCM attributable to any client other than a
                 private fund client; (C) twenty-four and nine-tenths percent (24.9%) of the net profits of GCM not
                 allocated pursuant to (a)(il)(A) and (a)(ii)(B) CT!l!:;)uding Net Sales Proceeds, but excluding Fund
                 Net Profits).
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                                              (b) GGP. For calendar year 2018, Mell shall receive cash payments
                   within (60) days alter the end of such calendar year equal to (i) forty percent (40%) of the net
                   profits (including Net Sales Proceeds and any incentive allocations made to GGP with respect to
                   a private fund client. but excluding Fund Net Profrts) of GGP attributable to the period beginning
                   January 1, 2018 and ending March 31, 2018, and (ii) twenty-four and nine-tenths percent (24.9%)
                   of the net profits (including Net Sales Proceeds and any Incentive allocations made to GGP with
                   respect to a private fund client, but excluding Fund Net Profits) attributable to the period
                   beginning April 1, 2018 and ending December 31, 2018.

                                    Section 2.02.    Net Profits for 2019 - 202 6.

                                              (a) GCM. For each of the calendar years 2019, 2020, 2021 and 2022,
                   Mell shall receive cash payments within (60) days after the end of each such calendar year equal
                   to (i) twenty-four and nine-tenths percent (24.9%) of the net profits of GCM attributable to any
                   private fund client (excluding Fund Net Profits); (ii) twenty and three-fourths percent (20 3/4%) of
                   the net profits of GCM attributable to any client other than a private fund client; and (iii) twenty-
                   four and nine-tenths percent (24.9%) of the net profits of GCM not allocated pursuant to (a)(i) and
                   (a)(ii) {including Net Sales Proceeds, but excluding Fund Net Profits).

                                            (b) GGP. For each of the calendar years 2019, 2020, 2021 and 2022,
                   Mell shall reoeive cash payments within (60) days after the end of each such calendar year equal
                   to twenty-lour and nine-tenths percent (24.9%) of the net profits (Including Net Sales Proceeds
                   and any incentive allocations made to GGP with respect to a private fund client, but excluding
                   Fund Net Profits) of GGP.

                                     Section 2.03     Calculation of Net Profits. In calculating the net profrts of GCM
                   attributable to private fund clients and any client other than private fund clients, each Item of cost
                   and expense will be allocated in accordance with the revenue associated with such cost or
                   expense and, to the extent such ilem is generally associated with GCM, allocated proportionately
                   among private fund clients and clients other than private fund clients based on aggregate
                   revenues attributable to each.

                                   Section 2.04, Sunset Payments. Mell shall not be entitled to any payments
                   pursuant to Section 12 of the respective Operating Agreements of GCM and GGP.

                                     Section 2.05.   Tax Treatment. The parties agree that any payment pursuant to
                   this Article II shall be treated as a payment to a retiring partner under Section 736(a) of the
                   Internal Revenue Code of 1986, as amended.

                                                               ARTICLE Ill

                                                    PAYMENT OF CAPITAL ACCOUNT

                                     Section 3.01    Capital Account. Within ten (10) business days after the
                   Departure Date, each Gulfstream Entity shall distribute to Mell, in cash, the estimated amount of
                   Mell's Capital Account balance in such Gulfstream Entity as of the Departure Date (tile
                   "Estimated Amount"). Promptly after the auditors have completed their examination • f the bool<s
                   of the Gulfstream Entities for the calendar year 2018, each Gulfstream Entity shall pay to Mell, in
                   cash, the amount of the excess, if any, of the "Adjusted Capital Balance" (as defined below) over
                   the Estimated Amount so paid, or Mell shall return and pay to the Gulfstream Entity, in cash, the
                    amount of the excess, if any, of the Estimated Amount so paid over such Adjusted Capita!
                    Balance. The term ~Adjusted Capital Balance" in respect of a Gulfstream Entity means Melrs
                   Capital Account in such Gulfstream Entity as of the Departure Date, increased by Mell's share of
                   the net profits of such Gulfstream Entity for the calendar year 2018 (computed in accordance wffh
                   Section 2..01 above).



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                                                                ARTICLE IV

                                                       RESTRICTIVE COVENANTS

                                     Section 4.01     Non-Solicitation. Subject to Section 4.03, Mell agrees that, until
                   January 1, 2023, Mell will not directly or indirectly, either as principal, agent, independent
                   contractor, consultant, director, officer. employee, employer, advisor (whether paid or unpaid),
                   stockholder, partner, member or in any other individual or representative capacity whatsoever,
                   either for his own benefrt or the benefit of any other person or entity, knowingly solicit, divert or
                   take away or accept as a client or investor any person (other than a family member of Mell) who
                   or which is a client of a Gulfstream Entay (or an affiliate of a Gulfstream Entoy) or any investor in
                   any pooled investment vehicle managed by a Gulfstream Entity (or an affiliate of a Gulfstream
                   Entity) as of the Departure Date, or who is then being solicited as such a client or investor or was
                   such a client or investor at any time during the one-year period ending on the Departure Date.
                   Subject to Section 4.03, Mell further agrees that, until January 1, 2023, Mell will not. directly or
                   indirectly, knowingly solicit or do business with any employee or member of a Gulfstream Entity
                   (or an affiliate of a Gulfstream Entity) or former employee or member who was employed or
                   affiliated wah a Gulfstream Entity (or an affiliate of a Gulfstream Entity) at any time during the
                   one-year period ending on the Departure Oate (other than a family member of Mell). Mell agrees
                   that he will not make any adverse or disparaging comment regarding a Gulfstream Entity or its
                   Managing Members. A violation of this Section 4.01 by Mell shall result in Mell forfeiting any
                   payments due to Mell under Article II of this Agreement: provided that the Gulfstream Entities
                   shall provide Mell with prompt written notice upon becoming aware of any violation of this Section
                   4.01 in reasonable detail. The application of the preceding sentence shall not limit a Gulfstream
                   Entity from pursuing any other rights or remedies which it may have in law or equity. The parties
                   agree that this Section 4.01 shall not apply to any person or entity that is a client or employee of
                   W. H. Mell Associates, Inc. as of the Departure Date. For the avoidance of doubt, with respect to
                   KRM Investments, LLC ("KRM"), this Section 4.01 does not apply to Mell or any client or
                   employee that is a family member of Mell.

                                    Section 4.02     Non-Competition. Subject to Section 4.03, Mell agrees that, until
                   January 1, 2023, Mell will not, without the prior written consent of the Gulfstream Entitles, directly
                   or indirectly, whether as principal, investor, officer, director, manager, partner, consultant, agent
                   or otherwise, alone or in association with any other person, firm corporation or other business
                   organization, enter into a business in direct competition with a Gulfstream Entity. In the case
                   where Mell Is employed by an entity which is engaged in a business In direct competilion (a
                   "Competing Business") with a Gulfstream Entity or its affiliates, Mell shall be treated as violating
                   this Section 4.02 only if Mell performs services for such Competing Business. The Gulfstream
                   Entities may waive in writing the provisions of this Section 4.02 in the',r sole discretion. A violation
                   of this Section 4.02 by Mell shall result in Mell forfeiting any payments due to Mell under Article II
                   of this Agreement; provided that the Gulfstream Entities shall provide Mell with prompt written
                   notice upon becoming aware of any violation of this Secilon 4.02 in reasonable detail. The
                   appllcation of the preceding sentence shall not limit a Gulfstream Entity from pursuing any other
                   rights or remedies which it may have in law or equity. The parties agree that the business
                   activities conducted by Mell in connection with W. H. Mell Associates, Inc. as of the Departure
                   Dale shall not be deemed a violation of this Section 4.02. For the avoidance of doubt, this
                   Section 4.02 is not intended to apply to l<RM and its investment activrties solely on behalf of Mell
                   (or a family member of Mell), provided that such activities {including withoul limitation KRM's
                   investing solely on behalf of Mell (or a family member of Mell) directly In municipal securities of
                   the same kind held by the private fund clients of the Gulfstream Entities) are consistent with
                   KRM's investment activities as of the Departure Date,

                                   Section 4.03     Termination of Restrictive Covenants. Upon at least sixty (60)
                   business days' prior written notice from Mell to the Gulfstream Entities, Meli may elect to
                   terminate the restrictive covenants applicable to him pursuant to Section 4.01 and Section 4.02 of
                   this Agreement as of January 1, 2021 {the ·cessation Date"). In the event Mell makes such


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                   election, Mell shall forfeit any and all payments due after the Cessation Date to Mell under Article
                   II of this Agreement.

                                                                 ARTICLE V

                                                             MISCELLANEOUS

                                      Section 5.01 Governing Law. This Agreement shall be governed by and
                   construed in accordance with the laws of the State of Delaware, without regard to principles of
                   conflicts of laws.

                                   Section 5.02     Assignment. This Agreement shall be binding on and shall inure
                   to the benefit of Mell'$ heirs, executors, administrators, representatives and assigns and the
                   successors in interest and assigns of the Gulfstream Entities. Mell may not assign any of his
                   rights hereunder, except with the written consent of the Gulfstream Entities.

                                      Section 5.03      Release.      Mell, individually and for his agents, insurers,
                    employees, attorneys, estates, assigns, heirs, executors, administrators and personal
                    representatives does hereby, with the sole exception of consideration due under the terms of this
                   Agreement and enforcement of the terms of this Agreement, unconditionally and irrevocably
                    release and forever discharge the Gulfstream Entities, jointly and severally, and as direct third-
                    party beneficiaries hereof, each of their partners, members, predecessors, parents, divisions,
                   subsidiaries, affiliates, officers, directors, executives, agents, insurers, employees, attorneys,
                   estates, purchasers, successors and assigns, of and from any and all claims of any kind,
                   including, but not limited to actions, causes of action, rights, costs, expenses (including but not
                   limited to attorneys' fees), compensation, debts, bonds, bills, suits, contracts, obligations,
                   controversies, covenants, agreements, promises, judgments, executions, damages, remedies,
                   responsibilities, liens, orders, liabilities and accounts of whatsoever kind, nature, or description,
                   direct or indirect, in law, or in equity, including but not limited to claims for accountings, in contract
                   or in tort or otheiwise, which Mell, ever had, now has or hereafter can, shall or may have, or may
                   hereafter assert, or which may hereafter arise against the Gulfstream Entities, jointly or severally,
                   for or by reason of any matter or cause whatsoever, whether known or unknown, suspected or
                   unsuspected, foreseen or unforeseen at the present time, or which may be based upon
                   preexisting acts, claims or events occurring at any time or times up to the date hereof which may
                   result In future claims of any kind.

                                    Section 5.04      Indemnification,     MeU shall,     to the    fullest   extent legally
                permissible under applicable law, indemnify and hold harmless the Gulfstrearn Entities against
               any and all loss, liability and expense (including, without limitation. judgments, fines, amounts
               paid or to be paid in settlement and reasonable atiorneys' fees and expenses) ("Losses") incurred
               or suffered by the Gulfstream Enttties arising out of any action or inaction of Mell involving
               personal conduct that the Gulfstream Entities reasonably deem to be outside the scope of his
               ernployment with the Gulfstream Entities). Notwithstanding the foregoing, the aggregate amount
               of all Losses for which Mell shall be liable pursuant lo this Section 5,04 (i) shall not exceed the
               aggregate amounts paid by the Gulfstream Entities to Mell under Articles II and 111; (ii) shall be
               reduced by any insurance proceeds and any Indemnity, contribution or similar payments received
               by the Gulfstream Entities in respect of such Losses; and (iii) shall not include Losses arising
               from Incidental, consequential, indirect or special damages. Within thirty (30) days upon request,
               and to the extent legally permissible, Mell shall advance amounts and/or pay expenses as
               incurred by the Gulfstream Entities in connection with his indemnification obligation herein:
               provided, however, that if it is later finally determined that the Guffstream Entitles were not
               entitled to indemnification, then the Gulfstream Entities shall promptly reimburse Mell for all
               advanced amounts.            In the event this indemnification obligation shall be deemed to be
               unenforceable, whether in whole or in part, such unenforceable portion shall be stricken or
               modified so as to give effect to this paragraph to the fullest extent penrnltted by law.



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                                     Section 5.05    l~epresentations and Warranties. Each of the parties hereto
                   hereby severally (and not jointly) represents and warrants that (a) such party has all right, power
                   and authority to enter into this Agreement and perform the actions contemplated hereby, (b) this
                   Agreement is enforceable with respect to such party in accordance with its terms, and (c) entering
                   Into this Agreement will not cause (i) a breach by such party of its obligations under any other
                   agreement by which such party is bound, or (ii) a violation of any law, rule, regulation or court
                   order to which such party is subject. Each of the parties hereto hereby severally (and not jointly)
                   agrees to Indemnify and hold harmless the other parties hereto against any loss, liability, cost or
                   expense (including reasonable attorneys' fees and expenses) which may result, directly or
                   indirectly, from any breach of the foregoing representations and warranties.

                                    Section 5.06     Entire Agreement.       This Agreement contains the entire
                   agreement between Mell and the Gulfstream EnHties and supersedes and cancels any prior
                   agreement or understanding between the parties on the subjects covered herein and no
                   agreernents, representations or statements of any party not contained in this Agreement shall
                   bind that party, This Agreement can be modified, amended or waived only in writing signed by all
                   parties. The failure at any time to enforce any of the provisions of this Agreement shall in no way
                   be construed as a waiver of such provisions and shall not affect the right of any party thereafter to
                   enforce each and every provision hereof in accordance with its terms.

                                               {Remainder of page intentionally lflft blank]




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                                IN WITNESS WHEHEOF, the pcHties have 0X(-iCUted this Agreemen( GS of the date first
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                                                                               S. Bradley Mell


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